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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                   SHREVEPORT DIVISION


   BRUCE CHARLES, on behalf of himself          *    CIVIL ACTION NO.:
   and all other similarly situated offenders   *    5:18-CV-00541-EEF-MLH
   at David Wade Correctional Center,           *
                                                *    JUDGE ELIZABETH E. FOOTE
                                                *
          and                                   *
                                                *
   The ADVOCACY CENTER,                         *
                                                *    USMJ MARK L. HORNSBY
          PLAINTIFFS,                           *
                                                *
   VS.                                          *    CLASS ACTION
                                                *
   JAMES M. LEBLANC, et al.,                    *
                                                *
          DEFENDANTS.                           *


     DEFENDANTS’ PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW

          NOW INTO COURT, through undersigned counsel, come Defendants, the Louisiana

   Department of Public Safety and Corrections; James M. Leblanc, in his official capacity as

   Secretary of the Louisiana Department of Public Safety and Corrections; Jerry Goodwin, in his

   official capacity as Warden of David Wade Correctional Center; Deborah Dauzat, in her official

   capacity as Assistant Warden of David Wade Correctional Center; and Lonnie Nail, Dr. Gregory

   Seal, Steve Hayden, Aerial Robinson, and Johnie Adkins (all in their official capacities as

   employees of the David Wade Correctional Center) (collectively the “Defendants”), who

   respectfully submit Proposed Findings of Fact and Conclusions of Law as follows:
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                                               I. NATURE OF THE ACTION

              1.        This is a class action brought by Plaintiffs under 42 U.S.C. §1983, for violations of

   the First and Eighth Amendments to the United States Constitution on behalf of all offenders

   currently held, or who will in the future be held, in extended lockdown at DWCC in the N1, N2,

   N3, and N4 buildings. This action also includes claims by Plaintiffs pursuant to Title II of the

   Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12131 et seq.; Section 504 of the

   Rehabilitation Act (“Section 504”), 29 U.S.C. § 794.

                                                        II. PARTIES

             2.         Plaintiffs in this action are Disability Rights Louisiana f/k/a the Advocacy Center,

   a private, federally-funded, non-profit corporation. Plaintiffs’ class representatives include Bruce

   Charles, Carlton Turner, Larry Jones and Ronald Brooks, all offenders in extended lockdown at

   David Wade Correctional Center (“DWCC”) at the time of filing.

             3.         Defendants are James LeBlanc in his official capacity as the Secretary of the

   Louisiana Department of Public Safety and Corrections; Jerry Goodwin in his official capacity as

   the Warden over DWCC; Vincent Coleman in his official capacity as a Colonel overseeing the

   South Compound at DWCC1; Doctor Gregory Seal, M.D. in his official capacity as a contract

   psychiatrist at DWCC; Assistant Warden Deborah Dauzat in her official capacity as the Deputy

   Warden at DWCC; Steve Hayden in his official capacity as a Corrections Program Manager at

   DWCC; Aerial Robinson in her official capacity as a Social Services Counselor at DWCC; Johnie

   Adkins in his capacity as a Social Services Counselor at DWCC; and the Louisiana Department of

   Public Safety and Corrections (“DPS&C”) pursuant to the ADA and Section 504 of the

   Rehabilitation Act only.



   1
       Colonel Coleman was substituted during trial as the current office holder in an official capacity suit.

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                III. PROPOSED FINDINGS OF FACT RE: EIGHTH AMENDMENT

     Defendants are not deliberately indifferent to South Compound Offenders’ serious
    mental health needs and have not violated the Eighth Amendment as a matter of fact.

      A. Description of DWCC facilities at issue in this case

          4.      DWCC is a maximum custody facility accredited by the American Correctional

   Association (“ACA”). (R. Doc. 524, Stipulation ¶ 26; Exs. D-42 - proffer, D-43)

          5.      DWCC is fully Prison Rape Elimination Act (“PREA”) compliant. (Upchurch Tr.

   at 3213)

          6.      DWCC is divided into two compounds: The North Compound and the South

   Compound. Five buildings, N1 through N5, comprise the South Compound, although only

   buildings N1-N4 are at issue for this case. (R. Doc. 524, Stipulation ¶ 28)

          7.      Each restrictive housing building has four linear tiers, A, B, C, and D. The tiers

   each have 16 cells. (R. Doc. 524, Stipulation ¶ 29)

          8.      Of the 16 cells on each tier in N-2 through N-4, the first two cells are camera cells

   for offenders who are on suicide watch. There is a camera in each of those cells, as well as in all

   cells on the N4 C tier. (R. Doc. 524, Stipulation ¶ 30)

          9.      These cells may be used as double-man cells, except for cells reserved for camera

   observation on each tier, and except for all cells in the N-4 building, which are designated as single-

   person cells. (R. Doc. 524, Stipulation ¶ 31)

          10.     Offenders housed in tiers A, B, and C of N2 and in buildings N3-N4 are classified

   as maximum custody. (R. Doc. 524, Stipulation ¶ 32; Goodwin Tr. at 4218-4219)

          11.     Offenders housed in N2D tier are closed cell restriction (“CCR”). (R. Doc. 524,

   Stipulation ¶ 33; Goodwin Tr. at 4213)


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           12.    Offenders housed in N1 are classified as medium custody. (R. Doc. 524, Stipulation

   ¶ 34; Goodwin Tr. at 4206)

           13.    DWCC is a clean, well-run, and organized prison. (Upchurch Tr. at 3224-3227)

           14.    DWCC operates its own water supply that is inspected and regulated by the

   Department of Health and Hospitals. (Goodwin Tr. at 4236-4237)

           15.    The DWCC water system provides water to the entire prison, including

   administration buildings, as well as to persons who live on the property outside of the actual prison.

   (Goodwin Tr. at 4241-4242)

           16.    On November 26, 2019, the Department of Health reported that there was no

   deficiency in the sanitation of the water and no bacteria in its sample. (Goodwin Tr. at 4240; Ex.

   D-44)

      B. Use of restrictive housing in general

           17.    Restrictive housing is primarily used to house offenders who have committed

   violent offenses or offenses which jeopardize the stability of the facility. (Upchurch Tr. at 3201-

   3205; Goodwin Tr. at 4220-4221; Smith Tr. at 2543-2544)

           18.    The use of restrictive housing is a necessary and appropriate prison practice to

   ensure the safety of the public, staff, and other offenders. (Upchurch Tr. at 3261; Burns Tr. at

   1454; Haney Tr. at 3015; Pacholke Tr. at 2787, 2789)

           19.    Restrictive housing is a disciplinary procedure used to control aberrant behavior by

   offenders. (Upchurch Tr. at 3201; Pacholke Tr. at 2787)

           20.    Restrictive housing is necessary because there must be a way to separate offenders

   who represent a risk of harm to other offenders, to the institution or to the staff. (Burns Tr. at

   1454; Haney Tr. at 3016; Pacholke Tr. at 2790) Offenders who cannot conform to the prison rules



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   and expectations end up in restrictive housing—a kind of a prison within a prison. (Burns Tr. at

   1454; Upchurch Tr. at 3201-3204; Smith Tr. at 2543-2544) Some offenders who represent a risk

   to general population such as gang members need to be in restrictive housing. (Burns Tr. at 1456)

   Some offenders’ dangerous behavior necessitates the usage of confinement in a cell. (Smith Tr. at

   2542-2543)

           21.    The use of restrictive housing benefits the general population of a prison.

   (Upchurch Tr. at 3208) If a prison system refuses to appropriately use restrictive housing to

   segregate dangerous offenders, the prison system subjects the offenders to predation and violence.

   (Upchurch Tr. at 3207-3208.) Failure to segregate offenders appropriately in a prison system poses

   a risk of serious harm to general population offenders. (Upchurch Tr. at 3208-3212)

           22.    Prisons throughout the country utilize restrictive housing. (Burns Tr. at 1454;

   Haney Tr. at 3015-3016) Plaintiffs’ own experts confirmed this fact. Dr. Burns testified that

   every prison system in the country uses restrictive housing, and Dr. Haney testified that 98%

   of the prisons in the country use restrictive housing. (Burns Tr. at 1454; Haney Tr. at 3015-

   3016)

           23.    Prior to this litigation, DPS&C voluntarily agreed in good faith to participate in a

   program offered by the Vera Institute to reduce reliance on restrictive housing. (Sec. Le Blanc Tr.

   at 2574; Chief Smith at 2495-2499 and 2540)

           24.    In 2017, the percentage of offenders held in restrictive housing by DPS&C was

   19.0%, the highest in the country. (Haney Tr. at 3048-3049)

           25.    Since 2016, DPS&C closed Camp J at Louisiana State Penitentiary (“LSP”).

   (Thompson Tr. at 4066-4067) In fact, the percentage of offenders held in restrictive housing by




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   DPS&C decreased from 19.0% in 2017, the highest in the nation, to 4.8% in 2019, below the

   national average of 5%, 11th in the country. (Haney Tr. at 3048-3049)

          26.     DPS&C has reduced its reliance on restrictive housing. DPS&C’s use of

   restrictive housing is now consistent with other prison systems throughout the country.

          27.     Secretary Le Blanc continues in good faith to work to improve Louisiana’s prison

   system while maintaining public safety through DPS&C. (Sec. Le Blanc Tr. at 2574; Smith Tr. at

   2536-2542)

      C. Use of restrictive housing at DWCC

          28.     The area of DWCC that is at issue in this case is the South Compound, which

   is comprised of four buildings designated as N1 through N4. (Goodwin Tr. at 4206)

          29.     N1 is not a restrictive housing unit. (Upchurch Tr. at 3230; Burns Tr. at 1471-

   1472; Goodwin Tr. at 4206-4207; Nail Tr. at 3114)

          30.     Offenders assigned to restrictive housing and/or maximum custody due to

   disciplinary issues are housed only in N2 A, B, and C tiers, and N3-N4. (R. Doc. 524,

   Stipulation ¶ 32; Nail Tr. at 3113-3114)

          31.     DWCC primarily uses three types of restrictive housing: 1) investigative

   segregation; 2) disciplinary segregation; and 3) preventative segregation. (Goodwin Tr. at

   4223-4224 & 4392)

          32.     Offenders found guilty of major rules violations can be assigned to a restrictive

   housing status known as “disciplinary segregation.” (Ex. D-2)

          33.     A disciplinary matrix provides the range of sentences for offenders found guilty

   of rules violations. (Ex. D-2)




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          34.     After serving time in disciplinary segregation, if an offender’s “continued

   presence in general population is a danger to the good order and discipline of the institution

   and/or whose presence poses a danger to himself, other offenders, staff and the general

   public,” he may be assigned to “preventative segregation” until the offender modifies his

   behavior. (Ex. P-JJJ-42 at 4; Goodwin Tr. at 4409)

          35.     The key to progressing out of a restrictive housing status is demonstrating that

   the offender is less of a threat to other offenders, the staff, and the public. (Upchurch Tr. at

   3212; Goodwin Tr. at 4409)

          36.     The duration of each offenders’ stay in the South Compound is highly variable

   and depends on the nature of the disciplinary issue and/or the overall risk the offender presents

   to offenders housed in the general population, staff, and the public. (Goodwin Tr. at 4303-

   4304, 4409)

          37.     Offenders regularly progress from restrictive housing on the South Compound to

   the general population housing on the North Compound at DWCC. (Burns Tr. at 1471; Haney Tr.

   at 3025)

          38.     There is no evidence that DWCC is keeping offenders in restrictive housing for too

   long a period of time. Dr. Burns said nothing in her report and testified that she did not

   independently assess whether DWCC was keeping offenders in restrictive housing for too long a

   period of time. (Burns Tr. at 1457-1458) Similarly, Dr. Haney did not address whether Louisiana

   is keeping offenders on restrictive housing for too long a period of time. (Haney Tr. at 3025-3027)

          39.     Notwithstanding transfers from other prisons in the state, such as due to closure of

   Camp J at LSP, the number of offenders in maximum custody on the South Compound at DWCC

   has been reduced from 344 as of January of 2017 to 228 as of March of 2020. (Ex. J-21 at1-2, 9)



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          40.     An offender in preventative segregation is reviewed at least every 90-days by a

   multi-disciplinary review board. (Goodwin Tr. 4304, 4412)

          41.     Offenders in restrictive housing have access to non-contact visitation by loved

   ones. (Goodwin Tr. 4313)

          42.     The Plaintiffs have not offered any evidence that an offender in restrictive

   housing has been denied visitation because of his classification, a lack of space, being on a

   suicide watch, or a backlog of any sort.

          43.     Offenders in restrictive housing are allowed outside for fifty minutes per day

   Monday through Friday. (R. Doc. 524, Stipulation ¶ 35)

          44.     Offenders in disciplinary and preventative segregation are allowed at least one ten-

   minute phone call per month plus attorney phone calls. (R. Doc. 524, Stipulation ¶ 37)

          45.     Offenders in restrictive housing are allowed three books as well as additional

   religious and educational materials. (R. Doc. 524, Stipulation ¶ 38; Ex. P-JJJ-13; Turner Tr. at 51)

          46.     Offenders in N1 and N2D are allowed access to televisions and radios. (R. Doc.

   524, Stipulation ¶¶ 38 & 40)

          47.     Offenders are not permitted access to radios or other music or sound producing

   devices on the tiers in the N2 A, B, and C, N3, or N4 buildings. (R. Doc. 524, Stipulation ¶ 42)

          48.     Cells in restrictive housing are open front cells that face concrete walls and

   windows which open to the outdoors. (R. Doc. 524, Stipulation ¶ 43.)

          49.     Offenders on N1 are allowed to use the yard for recreation, are provided a phone

   call on a weekly basis, and eat in a cafeteria setting out of their cells. (R. Doc. 524, Stipulation ¶

   45) Offenders on N1 have two hours of recreation out of their cells. (Goodwin Tr. at 4207-4208)




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        50.      A typical day for an offender in restrictive housing is approximately as follows in

part:

        a.    0500-0515 sick call slips
        b.    0600 Pill call
        c.    0600 Breakfast is delivered
        d.    1030 Lunch is delivered
        e.    1115 major count/Begin Feeding/Pill call
        f.    Afternoon recreation time
        g.    1600 Major count
        h.    1600 Pill call
        i.    1700 Dinner
        j.    1800 Shift change
        k.    Shower
        l.    2230 Lights out

(R. Doc. 524, Stipulation ¶ 46)

        51.      Offenders are not isolated in restricted housing. Cells in restrictive housing are

open front cells that face concrete walls and windows which open to the outdoors. (Burns Tr. at

1467-1468) Offenders talk to offenders in the cell next to them and to the offenders behind them

(through the pipe chase). (Thompson Tr. at 4035-4037; Upchurch Tr. 3235-3237; Burns Tr. at

1468) Brumfield testified that he could see offenders adjacent to him and see down the tier. He

further testified that he could pretty much hear everything going on in the tier, including others’

conversations. (Brumfield Tr. at 155)

        52.      Offenders have regular and constant contact with others. They can and do speak to

other offenders in adjacent cells in conversational tones. (Upchurch Tr. at 3236; Thompson Tr. at

4035-4037) They recreate in chain link enclosed recreation areas where they can converse with

other offenders in the adjacent/nearby enclosures. (Thompson Tr. at 4036) Thirty-minute security

checks are required by security staff in N1-N4. Managers and supervisors visit the tiers on a

regular basis. Offenders are also permitted to interact with staff if they wish during their presence

on the tiers. In addition to all of the routine items listed above, there is clothing exchange, mail


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call, and library book exchange. Haircuts and shaves are available in the common area on a regular

basis. (Burns Tr. at 1469-1470) Offenders have call outs for medical, dental, vision, and mental

health care. Inmate counsel substitute visit weekly. Weekend non-contact visitation is available.

Offenders are given one phone call per month, and calls to attorneys are not limited in number or

duration. (Burns Tr. at 1468-1471)

       53.     Many offenders are double bunked, and DWCC screens the offenders for

compatibility when selecting cellmates. (Thompson Tr. at 4146; Burns Tr. at 1471; Goodwin Tr.

at 4213, 4216, 4220-4221, 4363)

       54.     Records show clear evidence that offenders interact with one another. For example,

Cody Doucet stated that “he was instructed to act out by fellow offenders in an attempt to be

transferred to EHCC.” (Ex. D-71, p. 54)

       55.     The evidence refutes any suggestion that the offenders are “isolated” or that the

conditions are “solitary confinement.”

       56.     Showers are offered daily. Indeed, offenders are required to take a shower at least

once every three days. (Thompson Tr. at 4036; Goodwin Tr. at 4215; Upchurch Tr. at 3551-3552;

Ex. P-JJJ-13, p. 3.)

       57.     Living in an open bay dorm in general population presents problems for offenders

such as being preyed upon by other offenders, gang membership, and the like. Because of the

problems with living in general population, some offenders prefer being in restricted housing to

general population. (Upchurch Tr. at 3238-3239; Burns Tr. at 1466)

       58.     Thirty-minute security checks are required by security staff in N1-N4; 15 minutes

rounds are preferred. (Goodwin Tr. at 4382-4383)

       59.     Mental health staff make weekly rounds. (Hayden Tr. at 322-323)



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       60.      Managers and supervisors visit the tiers on a regular basis. (Goodwin Tr. at 4243;

Nail Tr. at 3117)

       61.      Calls to attorneys are not limited in number or duration. (Burns Tr. at 1470)

       62.      Weekend non-contact visits are available. (Turner Tr. at 109-110; Hayden Tr. at

434; Burns Tr. at 1470)

       63.      The classification review board reviews the custody status of each offender in

maximum security at least every 90 days. (R. Doc. 524, Stipulation ¶ 84).

       64.      DWCC has introduced numerous mitigation strategies in its restrictive housing

units. (Upchurch Tr. at 3230-3231)

       65.      DWCC does not take mattresses of offenders on disciplinary segregation.

(Upchurch Tr. at 3231-3233)

       66.      DWCC no longer uses the status of disciplinary detention/isolation. (Upchurch Tr.

at 3231-3232)

       67.      The Key Room Officer is responsible for documenting all movement in and out of

the unit and on and off of the tiers. (Goodwin Tr. at 4378-4379; Nail Tr. at 3112-3113; Ex. P-JJJ-

23 at 2)

   D. Mental health screening and intake

       68.      DPS&C Health Care Policy No. HC-36 provides that a mental health screening and

assessment should be completed upon intake into the DPS&C system. (Ex. D-14 at 3)

       69.      Offenders sentenced to the DPS&C are typically initially assessed at Elayn Hunt

Correctional Center (“EHCC”) at the Hunt Reception and Diagnostic Center (“HRDC”) before

being assigned to a specific DPS&C facility for housing. (R. Doc. 524, Stipulation ¶ 86; Hayden

Tr. at 3555)



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        70.    The EHCC assessment is extensive and consists of personality testing, IQ testing,

and interviews and results in a DSM-5 diagnosis of offenders with mental illness. The findings

are detailed in an Assessment & Intervention Report for each offender. (R. Doc. 524, Stipulation

¶ 89)

        71.    EHCC conducts an extensive screening process that assigns a DSM-5 diagnosis,

where appropriate, and a level of care designation for offenders. (R. Doc. 524, Stipulation ¶ 90)

        72.    The assessment process at EHCC assigns offenders a mental health Level of Care

designation as defined by EPM 03-02-003 III (B) of 5 (least severe indicating no mental illness)

to 1 (the most severe indicating the need for a 24-hour medical and/or mental health presence). (R.

Doc. 524, Stipulation ¶¶ 90 and 94)

        73.    The Assessment & Intervention forms are current, generally less than 90 days old

when an offender is transferred to DWCC. (Dauzat Tr. at 3312-3313; Burns Tr. at 1474; Ex. D-7

at 2) The following evidence confirms that the Assessment & Intervention forms are current:

 Offender                         Date of A&I                      Date of Intake
 Dillon, Willie                   10/31/18 (Ex. D-61 at 43-46)     03/04/19 (Ex. D-61 at 60)
                                  02/15/19 (Ex. D-61 at 52-55)
                                  [Amended A&I]
 Adams, Corey                     03/13/18 (Ex. D-64 at 87-90)     04/23/18 (Ex. D-64 at 167)
 McDowell, Joshua                 12/02/14 (Ex. D-65 at 13-17)     12/22/14 (Ex. D-65 at 23)
 Bonner, Gerald                   10/22/15 (Ex. D-73 at 10-13)     11/02/15 (Ex. D-73 at 15)
 Huber, Torre                     03/02/15 (Ex. D-74 at 11-14)     03/30/15 (Ex. D-74 at 16)

        74.    If an offender is placed by DPS&C at DWCC after reception at EHCC, DWCC

staff then perform an intra-system mental health screening on intake at DWCC. (R. Doc. 524,

Stipulation ¶ 96; Burns Tr. at 1483)

        75.    The DWCC intra-system mental health intake screening is designed to be a more

limited assessment than that performed at the HRDC. (R. Doc. 524, Stipulation ¶ 97)




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           76.         The intra-system mental health screening at DWCC is typically performed by Steve

Hayden. (R. Doc. 524, Stipulation ¶ 98; Hayden Tr. at 3557) The mental health staff at DWCC

talk with the mental health staff at EHCC if there are any specific concerns regarding an offender

being transferred to DWCC. (Hayden Tr. at 3556) The intake screening is performed when

offender arrives at DWCC, as soon as he gets off the bus. (Hayden Tr. at 3557)

           77.         The “intra-system” screening includes:

                       a.     Inquiry into whether the offender:
                               Has a present suicidal ideation;
                               Has a history of suicidal behavior;
                               Is presently prescribed psychotropic medication;
                               Has a current mental health complaint;
                               Is being treated for mental health problems;
                               Has a history of inpatient and/or outpatient psychiatric treatment;
                               Has a history of treatment for substance use; and/or
                               Has a detoxification need.

                       b.     Observation of:
                               General behavior;
                               General appearance;
                               Evidence of abuse and/or trauma; and/or
                               Current symptoms of psychosis, depression, anxiety and/or
                                 aggression.2

(Ex. J-5 at 1-2)

           78.         Usually prior to the screening, the mental health staff person, usually Hayden,

retrieves information on an offender being transferred to DWCC from the CAJUN database.

(Hayden Tr. at 3559) That information is usually typed in the top of an HC Form 37-A. (Hayden

Tr. at 3559)

           79.         The mental health staff person, usually Hayden, interviews the offender after he

gets off the bus. (Hayden Tr. at 3560-3561) Hayden completes a HC Form 37-A as he interviews



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    Ex. D-15 at 3-4.

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the offender. (Hayden Tr. at 3558-3560) Hayden assesses current complaints/symptoms, current

suicidal ideation/behavior, and prior suicidal ideation/behavior. (Hayden Tr. at 3560-3561) If

there is a discrepancy between what the offender tells Hayden and what is noted on CAJUN

database, Hayden will look at the mental health records that accompany the offender. (Hayden Tr.

at 3563. Exhibits D-59 at 19 and D-64 at 167 are examples of completed HC-37-A forms, intra-

system intake screening forms.)

        80.     DWCC’s intra-system screening is consistent with intra-system screening at other

facilities. (Thompson Tr. at 4010)

        81.     DPS&C has a working level of care system for mental health. (Burns Tr. at 1475)

DPS&C assigns the following level of care designations to offenders:

                a.      LOC 1 - shall be assigned to offenders who have significant disability

primarily due to their mental health condition. These offenders are housed in the special mental

health housing units with a 24 hours medical and/or mental health presence. These offenders

require ongoing intensive intervention/supervision. Housed at EHCC or LSP.

                b.      LOC 2 - shall be assigned to offenders with a diagnosis of SMI AND who

have been in remission for less than six months, or have displayed a pattern of instability, may not

have ability to follow directions or dysfunctional due to mental health illness. Medication

adherence and program participation are considered. Offender should be capable of performing

activities of daily living satisfactorily.

                c.      LOC 3 - shall be assigned to offenders with SMI and who have been in

remission or have been stable for at least six months. These offenders may live in the general

housing areas. A SMI diagnosis is typically chronic in nature and the offender will most likely




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remain diagnosed with SMI for the remainder of the offender’s life. If they are stable, functional,

and have no major problem with compliance, then they should be designated as LOC 3.

               d.      LOC 4 - shall be assigned to offenders with any Axis I diagnosis excluding

severe mental illness (SMI) and excluding addiction disorder diagnosis or those requiring mental

health interventions within the last year.

               e.      LOC 5 - shall be assigned to offenders who are not prescribed any

psychotropic medication or current MH intervention for more than one year.

(Ex. J-7 at 5-7; Ex. D-14 at 6-8; Burns Tr. at 1475-1476)

       82.     An offender classified as an LOC 1 is the equivalent of a person outside of prison

who is in a hospital for in-patient treatment. (Burns Tr. at 1476-1477). An offender classified as

an LOC 2 is the equivalent of a person outside the prison who is in some form of residential

treatment. (Burns Tr. at 1477)

       83.     Offenders with a designation of LOC 1 and LOC 2 are not housed at DWCC. (R.

Doc. 524, Stipulation ¶ 95; Thompson Tr. at 4002)

       84.     An offender classified as an LOC 3 has a serious mental illness that is either in

remission or is stable. A serious mental illness can go into remission. (Burns Tr. at 1477) Stable

does not mean that there are no symptoms whatsoever; instead, stable means that an offender is

able to function despite having some symptoms. (Burns Tr. at 1477) Dr. Seal further explained

that stable means unchanging. (Seal Tr. at 3858)

       85.     Offenders housed at DWCC classified as LOC 3 and LOC 4 are the equivalent of

outpatient individuals outside of prison. (Thompson Tr. at 4003; Burns Tr. at 1478)

       86.     Offenders housed at DWCC classified as LOC 5 have no present mental health

diagnosis. (Burns Tr. at 1476)



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       87.     The mental health staff has the authority to change the LOC classification on an

offender, if appropriate, based upon the offender’s situation. (Dauzat Tr. at 3381)

       88.     DWCC is doing a good job of identifying offenders with serious mental illness.

(Thompson Tr. at 4004-4010 and 4086; Burns Tr. at 1479-1480)

       89.     Accordingly, all offenders in restrictive housing on the South Compound either

have no serious mental illness or are in remission or are stable. This fact cannot be overstated and

is essential to a proper understanding of the case.

       90.     Offenders typically arrive at DWCC with medications from the sending institution.

(P-YYY-1 at 77-78) If an offender does not have medication for some reason, a medical doctor

will order the medications, unless contraindicated, until the offender can see Dr. Seal. (Burns Tr.

at 1494; Hayden Tr. at 3603-3604)

       91.     If an offender has psychotropic medications upon arrival at DWCC, those

medications are continued until the offender can see Dr. Seal. (Hayden Tr. at 3603-3604)

       92.     DWCC is not considered a reception center. (Dauzat Tr. at 3346; Ex. J-5 at 1) In

the unusual instance when an offender arrives at DWCC without an Assessment & Intervention

form from EHCC, Hayden administers the same testing at DWCC and has a psychologist, Dr.

Susan Tucker at that time, sign off on the Assessment & Intervention form. (Dauzat Tr. at 3346-

3347; Hayden Tr. at 3595-3597; Exhibit D-69 at 12-14 is an example of an Assessment &

Intervention form completed at DWCC for Chris Solomon.)

       93.     During the intra-screening intake process, offenders with a mental health diagnosis

or who are on psychotropic medications are scheduled to see DWCC’s psychiatrist, Dr. Seal,

within 14 days. (R. Doc. 524, Stipulation ¶ 100; Burns Tr. at 1495; Dauzat Tr. at 3345)




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       94.     DWCC provides offenders with an orientation which informs offenders of the

various options available to address mental health concerns. (R. Doc. 524, Stip. 99; Ex. D-36 at

pp. 36-69 where the specific section on mental health is located at 64-65) Offenders can request

mental health services through sick call, farm mail, informing an officer, declaring an emergency,

or during mental health rounds. (Ex. D-36 at p. 64; Burns Tr. at 1508) In addition, correctional

officers can and do refer offenders to mental health. (Burns Tr. at 1508)

   E. Mental health staff at DWCC

       95.     Warden Michelle Dauzat has a master’s degree in social work and is a board

approved Licensed Clinical Social Worker. Warden Dauzat has been in the mental health field for

over 21 years and has worked at DWCC since January 6, 2003. (R. Doc. 524, Stipulation ¶ 47;

Dauzat Tr. at 3304-3306) Warden Michelle Dauzat is responsible for overseeing and supervising

the mental health program and mental health staff at DWCC. (R. Doc. 524, Stipulation ¶ 54; Dauzat

Tr. at 3306-3307)

       96.     Steve Hayden possesses a master’s degree in Industrial Class Organizational

Psychology and has been employed at DWCC since January 3, 2005. (R. Doc. 524, Stipulation ¶

48; Hayden Tr. at 3546) His work experience prior to coming to DWCC included working for the

Department of Health and Hospitals doing psychometric testing and evaluations. (Hayden Tr. at

3547) He earned an international certification from the Council on Quality and Leadership as an

international interviewer and accreditation auditor. (Hayden Tr. at 3548) After going to work for

DWCC, he trained under Dr. Jennifer Crowder, Dr. Susan Tucker, and Warden Michelle Dauzat.

(Hayden Tr. at 3549) He further holds a certificate as a certified sex offender group leader and a

certified case manager from the Louisiana Supreme Court drug court office. (Hayden Tr. at 3549)

In addition to working for DWCC, he has performed work as a qualified intellectual disability



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professional performing psychometric testing and psychological evaluations for individuals with

intellectual disabilities. (Hayden Tr. at 3549-3550) Hayden works a full-time 40-hour week on a

Monday through Thursday 7:00 am to 5:30 pm schedule and is on-call 24 hours. (Hayden Tr. at

3551-3552)

       97.     As of March 2020, Aerial Robinson had a master’s degree in social work and was

working toward obtaining her certification as a Licensed Master Social Worker. (Robinson Tr. at

3451-3454) She was originally hired as a Social Service Counselor on September 20, 2016 and

promoted to her current position as a Social Service Counselor 2 on October 12, 2017. (R. Doc.

524, Stipulation ¶ 49; Robinson Tr. at 3451) Robinson works 8:00 am to 4:30 pm Monday through

Friday and is on-call 24-hours. (Robinson Tr. at 3454-3455)

       98.     James Burgos obtained a Master of Industrial Organizational Psychology in 2006

and a Master of Counseling in 2017. (R. Doc. 524, Stipulation ¶ 50; Burgos Tr. at 3778) Mr.

Burgos is a Licensed Professional Counselor through the Louisiana Board of Licensed

Professional Counselors. (R. Doc. 524, Stipulation ¶ 50; Burgos Tr. at 3778) Prior to going to

work for DWCC in early 2019, Burgos was a counselor at the Steve Hoyle substance abuse

program within the Department of Corrections in Bossier Parish and prior to that was a parole

officer for eleven years. (Burgos Tr. at 3780) Prior thereto, Burgos retired after 22 years in the

United States Air Force. (Burgos Tr. at 3781) Burgos works 8:00 am to 4:30 pm Monday through

Friday and is on-call one out of every three weeks. (Burgos Tr. at 3782-3783)

       99.     Johnie Adkins was hired on June 23, 2014 and was employed as a Social Service

Counselor 1 at DWCC. Though previously employed as a counselor, Adkins now serves as a

chaplain for DWCC. Adkins is the holder of a Master’s of Divinity; Master’s of Religious

Education; Master’s of Theology; and Doctorate of Theology. (R. Doc. 524, Stipulation ¶ 51, 63)



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       100.    Gregory Seal, M.D. is contracted as a Psychiatrist at DWCC. His contract start date

was July 1, 2009. Dr. Seal received his medical degree from LSU Medical Shreveport in 1988 and

is board certified. (R. Doc. 524, Stipulation ¶ 52; Seal Tr. at 3844) Dr. Seal has maintained a

private practice in psychiatry and has been associated with multiple hospitals since he left the

military in 1996. (Seal Tr. at 3844-3846) He also served as the lead investigator for Louisiana

Clinical Research, a private company doing research on psychiatric medications. (Seal Tr. at 3846)

Dr. Seal has worked with Assertive Community Treatment teams over the years. (Seal Tr. at 3847)

An ACT team is a model to treat the most severely mentally ill in the community. (Seal Tr. at

3847) Dr. Seal also served as the Deputy Coroner for mental health for Caddo Parish. (Seal Tr.

at 3848)

       101.    Dr. Seal is not an employee of the Department of Public Safety and Corrections.

Dr. Seal provides services for offenders held at DWCC both in general population and restrictive

housing. Dr. Seal’s contract, as of March 2020, was to provide services at DWCC for 18 hours a

month. The medical staff at DWCC assists with mental health needs when appropriate. (R. Doc.

524, Stipulation ¶¶ 66-67, 69; Seal Tr. at 3855-3856 - proffer)

       102.    The ratio of mental health staff to offenders on the South Compound at DWCC is

adequate. (Thompson Tr. at 4069-4071 and 4077-4078) Dr. Burns opined that one mental health

staff member would be needed for every 60 to 65 persons on the mental health caseload. Dr.

Burns’ testimony, using correct numbers, confirms that two full-time staff on the South Compound

was adequate. (Burns Tr. at 1503-1506) Considering that DWCC has two mental health staff,

Hayden and Burgos, assigned primarily to the South Compound with a mental health caseload of

approximately 90, the ratio is adequate. (Thompson Tr. at 4071 and 4077-4078)




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       103.    During weekends, when presented with an emergent situation or in response to a

threat of suicide, the medical staff will assist the mental health staff. (Dauzat Tr. at 3376)

   F. Mental health care and treatment provided to offenders in restrictive housing at
      DWCC

       104.    Based on demographic data across the country, it is a fact that a certain percentage

of offenders in restrictive housing will have a history of mental illness.

       105.    Current policy provides that an offender must be assessed by health care personnel

upon being transferred to restrictive housing. (Dauzat Tr. at 3318-3319; Ex. D-12 at 1) Medical

personnel advise mental health staff if any mental health issues are identified; such notifications

happen frequently. (Dauzat Tr. at 3320)

       106.    Further, a mental health professional personally interviews and prepares a written

report on any offender in restrictive housing more than 30 days. If an offender remains in

restrictive housing longer, a mental health assessment by a mental health professional is made at

least every three months. (Dauzat Tr. at 3321; Ex. D-12, at 2)

       107.    As of March of 2020, DPS&C enacted a pilot policy that was in the process of being

implemented. (Ex. P-JJJ-42) That pilot policy provides that offenders with serious mental illness

are not placed in segregated housing unless (a) cleared by appropriate Mental Health staff and

reviewed by a psychiatrist/psychologist at earliest possible date, (b) not actively psychotic, and (c)

less restrictive measures cannot assure safety/security of the unit. (Ex. P-JJJ-42 at 6)

       108.    DPS&C policy provides that there has to be procedures for non-mental health staff

to refer an offender for mental health services at any point during an offender’s incarceration. (Ex.

D-14 at 3)




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       109.    Hayden is primarily responsible for buildings N3 and N4 on the South Compound,

and Burgos is primarily responsible for buildings N1 and N2 on the South Compound. (Dauzat

Tr. at 3354; Burgos Tr. at 3782)

       110.    Hayden is on the tiers in the South Compound daily. His goal is to get to know the

offenders so that he can address any issues. (Hayden Tr. at 3604) When he is on the tiers, Hayden

will stop if anyone wants to talk to him. (Hayden Tr. at 3606) Most conversations while on the

tiers do not result in a mental health progress note because nothing of importance is discussed.

(Hayden Tr. at 3607)

       111.    Burgos would counsel approximately ten offenders in an average month as of

March of 2020. (Burgos Tr. at 3784) These counseling sessions take place in private in the

courtroom, and 9 out of 10 times, the correctional officer is not present. (Burgos Tr. at 3787)

       112.    Robinson is primarily responsible for the North Compound, general population, of

DWCC.     (Robinson Tr. at 3455)      Although her primary responsibilities are on the North

Compound, Robinson is available and will assist on the restrictive housing, South Compound,

when necessary. (Robinson Tr. at 3455-3456) Robinson testified to how she would try to

understand what issues the offender may be having and come up with a solution. (Robinson Tr.

at 3462) The same as Hayden, Robinson gets to the know the offender and even their families.

(Robinson Tr. at 3463)

       113.    Dr. Seal is of the opinion that Hayden, Burgos, and Robinson all do a good job at

DWCC. (Seal Tr. at 3855-3856 - proffer) Dr. Seal found that Hayden was helpful, that he wanted

to help the offenders, and that the information that Hayden gleaned from the offenders assisted Dr.

Seal. (Seal Tr. at 3855 - proffer) Dr. Seal found that Burgos was doing a good job, was showing

care for offenders, and was wanting to help offenders when and where he could. (Seal Tr. at 3856



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- proffer) Dr. Seal found that Robinson does a very good job and is able to glean helpful

information for him. (Seal Tr. at 3855-3856)

         114.   Dr. Thompson, Defendants’ expert psychiatrist, similarly opined that Warden

Dauzat, Hayden, Burgos, and Robinson are all qualified and do good work at DWCC. (Thompson

Tr. at 3981-3983 and 3990-3993) Specifically, in response to attacks on Hayden, Dr. Thompson

was clear that Hayden is qualified to perform intake, create mental health progress notes, make

decisions about removing offenders from suicide watch, and provide clinical counseling.

(Thompson Tr. at 3983-3988 and 3991)

         115.   The correctional officers on the tiers are trained to recognize mental health

problems. All DWCC staff are required to participate in mental health first aid training upon hire

and then every three years thereafter. (Ex. D-27; Robinson Tr. at 3516-3517) The mental health

first aid training was given to every DWCC employee in 2019. (Robinson Tr. at 3517) In addition,

DWCC provides mental health training for correctional officers every February. (Robinson Tr. at

3523-3524) The training is effective as correctional officers will frequently call mental health to

convey concerns regarding an offender. (Robinson Tr. at 3526)

         116.   Dr. Thompson found DWCC’s training to be well done. He emphasized that it was

important for the training to be provided when an employee is hired and then annually, which

DWCC does. (Thompson Tr. at 4016) He also wants that training to be performed by a mental

health person, exactly as occurs (Robinson performs the training at DWCC). (Thompson Tr. at

4016) The most important part of the training is that employees are told to call mental health if

they cannot figure a situation out. (Thompson Tr. at 4017) DWCC does exactly that. (Ex. D-33

at 29)




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        117.    The correctional officer is the first line of information and will call mental health

staff if a correctional officer believes that an offender needs to be seen by mental health. (Burgos

Tr. at 3786)

        118.    The mental health staff routinely counsel offenders in a private setting outside their

cells. (Dauzat Tr. at 3329) There are at least two to three such counseling sessions in a week.

(Dauzat Tr. at 3329-3334)

        119.    The mental health staff consisting of Hayden, Burgos, Robinson, and Warden

Dauzat as a backup are on call after hours and on weekends. (Dauzat Tr. at 3338)

        120.    As of March of 2020, Dr. Seal would come to DWCC twice a month, every other

Thursday. (Seal Tr. at 3852) Dr. Seal has enough time to see everyone that he needs to see. (Seal

Tr. at 3853) Plaintiffs presented no evidence that Dr. Seal was unable to see anyone that needed

to be seen. Further, Dr. Seal is available by telephone to DWCC staff in between his visits. (Seal

Tr. at 3853)

        121.    A member of the mental health staff is present when Dr. Seal sees offenders. A

majority of the time, the visits are confidential, without security present. (Hayden Tr. at 3607-

3608; Dauzat Tr. at 3373-3374) Hayden testified that he is present with Dr. Seal to be able to

update the database and to assist in providing information on the offender to Dr. Seal. (Hayden

Tr. at 3610)

        122.    The mental health staff professional can follow up on Dr. Seal’s directives and

convey information to Dr. Seal as necessary. (Dauzat Tr. at 3374)

        123.    DPS&C has a department regulation that governs confidentiality of offenders’

health records and information regarding an offender’s health status. (Ex. D-10) There are limits

to the confidentiality, i.e., (1) if an offender had a threat of violence against a specific victim, (2)



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if there is any mention of child abuse, elder abuse or abuse of a disabled person, (3) if there is a

threat to security of the institution, (4) there is any type of intent to escape, and (5) when required

by law. (Ex. D-10 at 2-3; Dauzat Tr. at 3317) The limits of confidentiality are explained to the

offender. (Dauzat Tr. at 3317; Robinson Tr. at 3458) The limits of confidentiality are presented

to the offender on a form. (Robinson Tr. at 3460-3461; Ex. D-65 at 77)

       124.    Dr. Seal is doing the traditional job of a psychiatrist in a prison, i.e., medication

management. (Thompson Tr. at 4086) There is no dispute that Dr. Seal is doing an outstanding

job at DWCC. Plaintiffs’ own expert, Dr. Burns, acknowledged that Dr. Seal’s diagnoses of the

offenders are correct and that his medication management is appropriate. (Burns Tr. at 1507) Dr.

Thompson concurred that Dr. Seal is diagnosing and prescribing appropriately. (Thompson Tr. at

3993-3995) The record shows that Dr. Seal adjusts medications in response to offenders’

complaints and input. See, for example, treatment provided to Jesse Sullivan. (Ex. D-68 at 108;

Seal Tr. at 3902)

       125.    Medication is the primary form of treatment for mental disorders of offenders

located in restrictive housing. (R. Doc. 524, Stipulation ¶ 129) Since medication is the primary

form of treatment for many mental disorders, it is highly significant that Dr. Seal’s medication

management is appropriate.

       126.    Although Dr. Burns opined that psychiatric staffing was inadequate, she could not

identify any deficiencies in Dr. Seal’s care. (Burns Tr. at 1506)

       127.    Dr. Seal determines when he needs to see a patient again. (Seal Tr. at 3858) Dr.

Seal sees every LOC 3 offender on the mental health case load at least every 90 days and every

LOC 4 offender at least every 180 days. (Ex. D-14, pp. 7-8) Dr. Seal determines the need and




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frequency of follow-up visits at each scheduled appointment, which may be sooner the maximum

time period provided by HC-36 [Ex. D-14]. (Burns Tr. at 1507)

        128.   If an offender presents with a need for intervention prior to the scheduled

appointment, Dr. Seal will see him at his next available date. (R. Doc. 524, Stipulation ¶ 52)

        129.   Once identified and seen by Dr. Seal, offenders with mental illness are followed by

a dedicated mental health staff that includes a master’s level psychologist, two social workers, and

licensed counselor. (R. Doc. 524, Stipulation ¶¶ 47-50)

        130.   Mental health sees every offender who requests mental health care. (Burns Tr. at

1509)

        131.   A treatment plan is created for each offender.

        132.   Mental Health staff at DWCC perform weekly rounds on the South Compound and

counsel mental health offenders during those rounds. (Dauzat Tr. at 3354-3355; Thompson Tr. at

4044-4047) Weekly mental health rounds are sufficient. (Burns Tr. at 1509) Carlton Turner

confirmed that mental health would make rounds about once a week. (Turner Tr. at 91) Mental

health rounds provide access to mental health care. (Dauzat Tr. at 3355-3356) The important part

of mental health rounds is to develop a relationship with the offenders. (Thompson Tr. at 4046-

4047)

        133.   An offender can request mental health through the sick call process. Joel Williams,

R.N., testified that if an offender requested mental health treatment through a sick call request,

Williams would see the offender and then refer him to mental health. (Williams Tr. at 3811-3812)

Further, as part of the sick call procedure, Williams and other RNs perform tier walks which allow

offenders to talk to the nurse about any concerns that they may have. (Williams Tr. at 3813-3816)




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During the tier walks, Williams would take action if he identified an offender with a mental health

concern. (Williams Tr. at 3817)

       134.    An offender can obtain mental health assistance through an emergency sick call as

well. (Dauzat Tr. at 3375) A nurse will initially evaluate an offender who makes an emergency

sick call. Mental health will then respond and evaluate the offender. (Dauzat Tr. at 3375)

       135.    A mental health referral is a request for mental health services through anyone other

than the mental health staff. (Dauzat Tr. at 3376) Any correctional officer or other employee at

DWCC can request mental health assistance for an offender. (Dauzat Tr. at 3324)

       136.    Group Programming is available to offenders on N1. The re-entry classes are four

days a week for two and half hours and are conducted in the chapel. (Goodwin Tr. at 4208-4211)

       137.    Although group therapy is not afforded in other restrictive housing areas due to

security concerns, mental health staff do provide individualized counseling to mental health

offenders in restrictive housing. Additionally, written materials relating to group therapy sessions

are made available to offenders on N2-N4. (Dauzat Tr. at 3328-3329; Burgos Tr. at 3796) Willie

Dillon specifically testified that Robinson provided him with materials for anger management.

(Dillon Tr. at 289)

       138.    Counseling with offenders can be conducted in a private setting in the room

identified as the treatment room or the courtroom. (Robinson Tr. 3457-3458) Sometimes a

correctional officer is present; sometimes the correctional officer is not present. (Robinson Tr. at

3457-3458)

       139.    Mental health progress notes and segregation interviews are completed using

standardized forms containing checkboxes for various aspects of a mental status examination. The

purpose of the segregated interviews is to check in with the offender every 90 days after an



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offender has been in restrictive housing for more than 30 days to make sure that the offender is

functioning okay within the environment. (Dauzat Tr. at 3356-3357) A segregated interview is

performed on all offenders, not just those on the mental health case load. (Dauzat Tr. at 3356)

       140.    Mental health staff perform level of care reviews annually and as needed to ensure

the coding is accurate. (Dauzat Tr. at 3358-3359)

       141.    DWCC mental health staff see offenders classified as LOC 3 at least every 90 days

and offenders classified as LOC 4 as least every 180 days, per policy. (Dauzat Tr. at 3359-3360)

       142.    DWCC can transfer offenders to EHCC for a mental health re-evaluation. (Dauzat

Tr. at 3339) For example, DWCC transferred Anthony Caro to EHCC for an evaluation. (Ex. D-

75 at 101) EHCC assessed Caro, diagnosed him as malingering for placement, and transferred

him back to DWCC. (Ex. D-75 at 103-106, 108)

       143.    DWCC will transfer offenders in need of a higher level of mental health care to

EHCC. (Dauzat Tr. 3314-3315; Ex. D-7 at 4) DWCC has never been denied a request to transfer

an offender who DWCC thought was an LOC 1 or an LOC 2. (Dauzat Tr. at 3385) DWCC has

no reason to continue to house an offender classified as an LOC 2 because DWCC does not have

the resources to treat the offender; EHCC offers the higher level of care for such offenders.

(Dauzat Tr. at 3385-3386)

       144.    Plaintiffs’ expert witnesses did not opine that the level of care designation of the

offenders is incorrect.

       145.    The percentage of offenders with serious mental illness at DWCC has remained

relatively the same since 2017. (Thompson Tr. at 4081-4082)

   G. Medication management at DWCC




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       146.    Offenders typically arrive at DWCC with medications from the sending institution.

If an offender does not have medication for some reason, a medical doctor will order the

medications, unless contraindicated, until the offender can see Dr. Seal. (Burns Tr. at 1494;

Hayden Tr. at 3603-3604)

       147.    If an offender has psychotropic medications upon arrival at DWCC, those

medications are continued until the offender can see Dr. Seal. (Hayden Tr. at 3603-3604)

       148.    During the intra-screening intake process, offenders with a mental health diagnosis

or who are on psychotropic medications are scheduled to see DWCC’s psychiatrist, Dr. Seal,

within 14 days. (R. Doc. 524, Stipulation ¶ 100; Burns Tr. at 1495; Dauzat Tr. at 3345)

       149.    Dr. Seal prescribes appropriate psychotropic medications in appropriate dosages.

(Burns Tr. at 1507)

       150.    Medications are distributed using “blister packs” which are specifically numbered

and are monitored by nursing staff at DWCC. (Norris Tr. at 828, 830)

       151.    Medications are administered by pill call officers. It is not uncommon for prisons

to use correctional officers as pill call officers. (Burns Tr. at 1512) It is an acceptable practice to

use correctional officers as pill call officers with appropriate training, oversight and supervision.

(Burns Tr. at 1512)

       152.    Pill call officers are provided specific training on administering medications. (Exs.

P-QQQ-1, P-QQQ-2, P-QQQ-3)

       153.    When psychotropic medications are received, a sticker is placed on the pill card

indicating that the medication is psychotropic. This process ensures continuity in medication

administration. (R. Doc. 524, Stipulation ¶ 81)




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       154.   The formal training that DWCC provides to its pill call officers is good. (Burns Tr.

at 1513)

       155.   It is not unusual to see problems with MARs in prisons. (Burns Tr. at 1514)

       156.   Regardless of any problems with the MARs, all offenders testified that they were

receiving their medications from pill call officers. (Burns Tr. at 1514-1515; Turner Tr. at 89;

Brumfield Tr. at 191; Moran Tr. at 233; Dillon Tr. at 292)

       157.   Joel Williams, RN, testified that he will investigate if an offender tells him that he

did not receive his medications. (Williams Tr. at 3818)

       158.   There are mental health progress notes where offenders were counseled for

noncompliance with medications. (Burns Tr. at 1515)

       159.   DWCC and DPS&C maintain policies to address potential risks associated with

heat for offenders on certain psychotropic medications. These policies provide offenders with

additional showers, water, towels, and ice and DWCC relaxes its jumpsuit policy to help keep

offenders cool. (Ex. J-11A; Goodwin Tr. at 4246-4248, 4252; Huff Tr. at 2018)

       160.   DWCC physicians assign offenders whose medication puts them at risk to

excessive heat a “heat duty status.” (Goodwin Tr. 4248; Huff Tr. at 2018, 2025; Mays Tr. at 2169)

   H. Mental health observation and suicide watch

       161.   Mental health observations (“MHO”) are utilized to follow an individual offender

more closely who is experiencing an acute exacerbation of symptoms which is considered

temporary by medical professionals and is not expressing any suicidal intent or ideation. (Ex. J-

4; Dauzat Tr. at 3394) MHO is appropriate for offenders who are psychotic, in acute distress,

noncompliant with psychotropic medication, or otherwise psychologically impaired to a




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significant degree, but not considered a high risk for suicidal behavior. (Ex. J-4 at 1; R. Doc. 524,

Stipulation ¶ 109)

       162.    An offender on MHO is monitored in person every 15 minutes and random and by

video by the officer in the key room. (Dauzat Tr. at 3394) An offender on MHO is seen daily by

mental health or medical staff. (Hayden Tr. at 3622) The offender will then see Dr. Seal at his

next available time. (Hayden Tr. at 3622)

       163.    Suicide watch is a precautionary measure for the safety of the offender and the staff.

(Dauzat Tr. at 3387)

       164.    Correctional officers are trained annually to identify suicide risk factors. (Ex. D-

34; Robinson Tr. at 3528) Dr. Burns has no criticisms of that training. (Burns Tr. at 1515)

       165.    DWCC has two categories of suicide watch, standard and extreme. Standard

suicide watch is utilized if an offender expresses some intent or ideation to harm himself. (Dauzat

Tr. at 3388; Robinson Tr. at 3461) Extreme suicide watch is for an offender who engages in some

type of self-harm. (Dauzat Tr. at 3392)

       166.    Mental health staff completes a mental health management order (“MHMO”) on

each new suicide watch. (Dauzat Tr. at 3388) Within the clinical judgment of the mental health

staff, the MHMO describes the techniques to be used, which property items are permitted, and

which property is prohibited. (Ex. J-10 at 3-8; Dauzat Tr. at 3388-3389)

       167.    Removing an offender’s property while on suicide watch is an appropriate

procedure designed to reduce the risk of a completed suicide while an offender is on suicide watch

because offenders can and do use property such as gowns and mattresses to attempt suicide or

make suicidal gestures. (Burns Tr. at 1349). Testimony of offenders and exhibits show examples




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of offenders using such property to make a gesture or attempt suicide. (Turner Tr. at 59; Ex. D-

63 at 9, 103; Ex. P-VVV-39 at 3)

        168.    Offenders on suicide watch are typically monitored by officers in person at 15

minutes intervals and randomly. (Dauzat Tr. at 3391) In addition, the officer in the key room has

a camera for monitoring an offender on suicide watch. (Dauzat Tr. at 3391)

        169.    Offenders on standard suicide watch receive in-person observation at least every

fifteen minutes, and randomly between intervals. (Ex. J-10 at 6)

        170.    An offender on suicide watch is seen and evaluated daily; mental health staff sees

offenders on suicide watch daily on Monday through Friday; nursing staff sees offenders on the

weekends. (Dauzat Tr. at 3391; Burns Tr. at 1516)

        171.    Extreme suicide watch incorporates some level of restraint based on the actions of

the offender. (Dauzat Tr. at 3392) Extreme suicide watches can only be utilized by DWCC’s

mental health staff with the concurrence of a medical doctor. (Ex. J-10 at 8)

        172.    Restraints used on extreme suicide watch, by policy, may be: (1) four-point

restraints, (2) placing an offender in a restraint chair, or (3) use of a helmet to prevent head banging.

(R. Doc. 524, Stipulation ¶ 108)

        173.    Nurses check on offenders on extreme suicide watch every two hours. (Williams

Tr. at 3821, 3825) Mental health sees offenders on extreme suicide watch every twelve hours.

(Dauzat Tr. at 3393)

        174.    The use of the restraint chair is infrequent and limited to only the time deemed

necessary by the mental health staff. In fact, James Burgos who started at DWCC in early 2019

had never even seen the restraint chair. (Burgos Tr. at 3794)




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       175.    The mental health staff at DWCC decides when to end a suicide watch. (Thompson

Tr. at 4053-4054; Burns Tr. at 1516)

       176.    The length of time that offenders at DWCC remain on suicide watch is consistent

with the national average. (Burns Tr. at 1518)

       177.    Upon termination of suicide watch, mental health staff contacts and evaluates the

offender within seven days. (Burns Tr. at 1520; Hayden Tr. at 3628)

       178.    Suicide watches, suicide attempts, suicidal gestures, and completed suicides must

be reported by DWCC to the Department of Corrections in a monthly report called a C-05 report.

(Dauzat Tr. at 3429-3430) The medical director makes the determination of whether an act

qualifies as a suicide attempt. (Dauzat Tr. at 3430)

       179.    DPS&C recognizes three categories of self-harm.          One is non-suicidal self-

injurious behavior which refers to the intentional destruction of one’s own body tissue without

suicidal intent. Common examples include cutting, burning, scratching, and banging or hitting.

Two, is a suicide gesture which is a self-injurious behavior that would not have resulted in death

and/or a permanent incapacitating physical disability if not intervention occurred. Three is a

suicide attempt which is a self-injurious behavior that could have resulted in death and/or a

permanent incapacitating physical disability if no intervention occurred. (Ex. J-10 at 2-3) Warden

Dauzat explained the differences in detail. (Dauzat Tr. at 3431-3435)

       180.    The number of suicide watches at DWCC is not higher than it should be; stated

differently, DWCC does not have a problem with overuse of suicide watch. (Thompson Tr. at

4049 and 4054-4055; Burns Tr. at 1517-1518)




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       181.    From January of 2019 through February of 2020, the total number of standard

suicide watches was 97, or 6.93 per month and that the total number of extreme suicide watches

was 26 or 1.86 per month. A chart with the numbers and citations follows:

                                          SSW           ESW             Cite
                      1/2019                2             0      Ex. J-19 at 95-96
                      2/2019                8             0      Ex. J-19 at 98-99
                      3/2019                9             1     Ex. J-19 at 101-102
                      4/2019                7             4     Ex. J-19 at 104-105
                      5/2019                8             3     Ex. J-19 at 107-108
                      6/2019                7             0     Ex. J-19 at 110-111
                      7/2019               12             4     Ex. J-19 at 113-114
                      8/2019                8             0     Ex. J-19 at 116-117
                      9/2019                8             1     Ex. J-19 at 119-120
                     10/2019                3             9     Ex. J-19 at 122-123
                     11/2019                7             1     Ex. J-19 at 125-126
                     12/2019                3             0     Ex. J-19 at 128-129
                      1/2020                3             0     Ex. J-19 at 130-131
                      2/2020               12             3     Ex. J-19 at 133-134
                Total of 14 Months         97            26
                     Average             6.9286        1.8571
                    Per Month

       182.    The time that DWCC keeps offenders on suicide watch is consistent with the

national average. (Burns Tr. at 1518)

       183.    A review committee at DPS&C headquarters level reviews every suicide attempt,

i.e., an instance where an offender engaged in self-injurious behavior that could have resulted in

death and/or a permanent incapacitating physical disability if no intervention occurred. (Dauzat

Tr. at 3435-3437) Noel Dean was the only suicide attempt at DWCC during the relevant period,

and his case was presented to the committee. (Dauzat Tr. at 3439-3442)

       184.    Plaintiffs introduced a video of DWCC correctional officers responding to Dean’s

suicide attempt. The video begins with an officer running down the tier to get to Dean’s cell.

Upon arrival at the cell, the officer finds another officer holding Dean by the legs so that he cannot

harm himself further. The officers then remove Dean from the hanging position and lay him on

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the floor. The officers call for medical and begin to care for Dean while waiting on medical. Other

likely more senior officers arrive at the scene. A nurse arrives and checks on Dean. All of this

takes place at beginning at 11:53 at night.3 (Ex. P-WWW-17) The video shows an excellent

response to a serious situation.

         185.     DWCC does not have a problem with too many completed suicides. (Burns Tr. at

1516-1517)

         186.     DWCC does not use suicide watch as punishment. (Dauzat Tr. at 3391; Williams

Tr. at 3823; Robinson Tr. at 3462) Dr. Thompson, Defendants’ expert psychiatrist, agreed that

DWCC does not use suicide watch as punishment. (Thompson Tr. at 4050)

         187.     DWCC’s use of suicide watch does not create a substantial risk of harm. Indeed,

to the contrary, DWCC’s use of suicide watch is appropriate and working as intended.

    I. Use of force at DWCC

         188.     Correctional officers on the South Compound can use chemical spray to obtain

compliance from offenders who refuse to comply with the officers’ commands. (Ex. J-1 at 7;

Goodwin Tr. at 4346)

         189.     Correctional officers turn on their body cameras when the use of chemical spray or

other use of force is anticipated. The body camera videos (see, e.g., Exs. P-CCCC-1, P-WWW-

17) show that the correctional officers repeatedly advise the offenders that chemical spray will be

used if the offender persists in not complying with orders. (Nail Tr. at 3141-3142)

         190.     DWCC does not overuse chemical spray. From 2018 through February of 2020,

DWCC averaged using spray 8.5 times a month. A chart with the numbers and citations follows:


3
  It is assumed that Plaintiffs will attempt to make much of the restraint chair. While the restraint chair is seen on the
tier, the video does not show that Dean was actually placed into the restraint chair. Further, even if the restraint chair
was used, say in the manner of a wheel chair to get him to the infirmary, there is no indication or testimony that such
use would be improper.

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              Spray            Cite                                  Spray          SSW
 1/2018         3         Ex. J-19 at 47                1/2019         9       Ex. J-19 at 94
 2/2018         6         Ex. J-19 at 52                2/2019         5       Ex. J-19 at 97
 3/2018         5         Ex. J-19 at 55                3/2019        11       Ex. J-19 at 100
 4/2018        10         Ex. J-19 at 60                4/2019         6       Ex. J-19 at 103
 5/2018         --              --                      5/2019        11       Ex. J-19 at 106
 6/2018        13         Ex. J-19 at 68                6/2019         5       Ex. J-19 at 109
 7/2018         4         Ex. J-19 at 74                7/2019        12       Ex. J-19 at 112
 8/2018         8         Ex. J-19 at 79                8/2019         6       Ex. J-19 at 115
 9/2018        10         Ex. J-19 at 82                9/2019         7       Ex. J-19 at 118
 10/2018       10         Ex. J-19 at 85                10/2019       10       Ex. J-19 at 121
 11/2018       15         Ex. J-19 at 88                11/2019       12       Ex. J-19 at 124
 12/2018        6         Ex. J-19 at 91                12/2019        8       Ex. J-19 at 127
  Total:       90                                       1/2020         --             --
                                                        2/2020        12       Ex. J-19 at 132
                                                         Total:       114

90 sprays for 2018 plus 114 sprays for 2019 through February of 2020 equals a total of 204 sprays.

204 divided by the 24 reported months between January of 2019 and February of 2020 equals an

average of 8.5 uses of spray per month.

       191.    Use of Force incidents at DWCC are reviewed by the Unit Manager. (Nail Tr. at

3139; Mays Tr. at 2132)

       192.    The unit manager is the colonel who oversees the South Compound. (Nail Tr. at

3111; Mays Tr. at 2132)

       193.    Either Colonel Lonnie Nail or Colonel Tyrone Mays were the unit managers for the

South Compound at all times relevant to this trial. (Nail Tr. at 3111; Mays Tr. at 2126-2127)

       194.    Use of Force incidents are required to be reported by DWCC to DPS&C in the

monthly C-05 report. (R. Doc. 524, Stipulation ¶ 123)

       195.    Offenders who throw items on the tier, at staff members, or at other offenders can

be placed on Policy 34, which restricts their property to prevent recurrence of these types of

incidents. (R. Doc. 524, Stipulation ¶ 159; Nail Tr. at 3145-3147)


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       196.    An offender who engages in behavior prohibited by Policy 34 can be placed on that

status for 24 hours the first time he engages in that behavior. (R. Doc. 524, Stipulation ¶ 159; Nail

Tr. at 3145-3147)

       197.    As of March 2020, an offender who engaged in a pattern of behavior prohibited by

Policy 34 may be placed on that status for 30 days. (Nail Tr. at 3145-3147)

       198.    Correctional officers do not barter with offenders for privileges such as showers or

food. (Nail Tr. at 3149-3150)

       199.    Correctional officers do not open windows in the winter time to punish offenders

or make conditions more uncomfortable for offenders. (Nail Tr. at 3150-3152)

   J. Offenders engage in manipulation or secondary gain

       200.    Many offenders are disciplinary problems, not mental health problems.

Determining the difference between the two can be challenging. DWCC’s mental health training

for correctional officers captures the essence of the problem as follows:




(Ex. D-33 at 29)

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       201.    Training materials for officers at DWCC, although addressing female security

officers, further warns of how offenders who are bad attempt to manipulate officers and the system:

       An offender has 24-hours to think of ways how to manipulate officers. Offenders
       have nothing but time to observe, time to hear, and profit from everything they
       know about you and your job. Offenders are predators, they watch the female
       employees, they target female employees, the offenders identify weak links, and
       set up employees to gain confidence.

(Ex. D-31 at 31)

       202.    The records in this case are replete with specific examples of offenders engaging in

manipulative behavior. Offenders will claim suicidal ideation to be placed on suicide watch for

many reasons other than being suicidal. The following specific examples prove the point.

       203.    Bruce Charles is the named plaintiff. His record shows that he was “bad” and that

he acted out, but that he did not have a serious mental illness.

       204.    On 03/06/17, while on suicide watch, Charles stated that he was angry with security

and made false claims of suicide ideation in order to make them “work.” (D-63 at 17; Hayden Tr.

at 3626) Hayden took Charles off of suicide watch at that time. (D-63 at 18; Hayden Tr. at 3627)

Three days later, on 03/09/17, within seven days of discontinuing suicide watch, Hayden followed

up with Charles after being discontinued on suicide watch as per policy. (Ex. D-63, pp. 20-21;

Hayden Tr. at 3628-3629)

       205.    Charles filed an ARP regarding restrictive housing and mental health care. Hayden

prepared the response, dated 04/03/17. (Ex. P-E-24 at 5) Hayden’s response to Charles was:

       Your request for administrative remedy in which you contend your housing in
       solitary confinement has exacerbated your mental health condition has been
       reviewed. Upon your arrival at DWCC, you were initial classified to maximum
       custody extended lockdown. This is based upon a comprehensive review by a multi-
       disciplinary team of your complete record including but not limited to conduct,
       criminal history, adjustment concerns, etc. This assignment is an administrative
       decision. Consistent with this custody, your privileges and possessions are
       restrictive. This is done to promote and ensure staff and offender safety as well as


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       uniformity and structure. Consistent with this status, you are reviewed at a
       minimum of every 90 days for a less restrictive status. Mental health staff serve a
       function within the totality of your case management. The mental health department
       provides access to mental health clinical services 5 days a week and after hour
       services for emergency treatment. Offenders who are assigned to maximum
       custody are seen on a routine basis per the current classification designation in
       addition to the designated mental health level of care. There are numerous self-help
       opportunities available to the restrictive housing population. The services include
       but are not limited to chaplaincy services, library services, mental health counseling
       services, psychoeducational correspondence, addiction literature, etc. DWCC
       classification department, in conjunction with Unit management, evaluate each
       maximum custody offender to determine if a referral to the Transition Treatment
       Program is warranted based current need and level of functioning. Psychiatric
       services in addition to crisis management are also offered to all offenders at DWCC.
       You are also monitored and seen by mental health due to continuous confinement
       and your MH level of care. All clinical services are provided in accordance with
       DOC Regulations. Upon your reassignment to general population it is
       recommended that you write MH via farm mail and be placed on the waiting list
       for self-help groups.

(Ex. P-E-24 at 5; Hayden Tr. at 3631-3635) Despite being advised of these services, there are no

records indicating Charles requested any of the available services.

       206.      Hayden’s ARP response dated 04/03/17 attached mental health progress notes

indicating that Charles was seen 25 times between 06/12/16 and 03/09/17. (Ex. P-E-24 at 13-62)

       207.      On 5/26/17, Robinson saw Charles for a mental health evaluation after he declared

an emergency. (Ex. D-63 at 27-28) Charles stated that his grandmother was sick, and his brother

had just committed suicide. He expressed suicide ideation, so Robinson began standard suicide

watch. (Ex. D-63 at 28)

       208.      On 05/30/17, Hayden saw Charles while he was on suicide watch. Hayden

discontinued suicide watch since Charles denied any current suicide ideation. (Ex. D-63 at 30-32)

On 06/05/17, Hayden followed up with Charles after being discontinued from suicide watch. (Ex.

D-63 at 33-34)




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       209.    On 06/09/17 and 06/18/17, Charles refused to accept mental health medications.

(Ex. D-63 at 35, 37; Hayden Tr. at 3656-3658)

       210.    On 07/06/17, Robinson saw Charles and noted that Charles discussed:

       several incidents, which have occurred in his family. Offender reports the suicide
       of his brother, grandfather killed three family members, and his grandmother is
       currently ill. When questioned about coping he states, “I’m doing good. I just take
       it day by day.”

(Ex. D-63 at 39-40; Robinson Tr. at 3468-3469)

       211.    On 07/14/17, Robinson saw Charles after he missed his ninth consecutive meal.

(Ex. D-63 at 41-42)

       212.    On 07/15/17, Charles refused psychotropic medications. (Ex. D-63 at 44; Hayden

Tr. at 3658-3659)

       213.    On 07/18/17, Robinson saw Charles while on standard suicide watch. When

Robinson questioned Charles about suicide ideation, he responded, “Put me in restraints.”

Robinson explained there was no reason for an order of restraints. Charles then revealed a piece

of plastic and began to attempt to cut his wrist. At that point, Robinson placed Charles on extreme

suicide watch. (Ex. D-63 at 46-47; Robinson Tr. at 3471) This incident was captured on an UOR

as well. (Ex. D-63 at 48)

       214.    On 07/18/17, Hayden received a beeper call at approximately 9:00 pm at which

time he downgraded Charles from extreme suicide watch to standard suicide watch. (Ex. D-63 at

50-51; Hayden Tr. at 3661-3662) A utilization of medical/mental health restraints after incident

review was completed. (Ex. D-63 at 52; Hayden Tr. at 3659-3661)

       215.    On 08/04/17, Robinson counseled Charles about recent write-ups, family concerns,

and short- and long-term goals. (Ex. D-63 at 64-65; Robinson Tr. at 3474)




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       216.      On 08/10/17, Dr. Seal saw Charles. Dr. Seal noted that Charles’ mood was

“euthymic,” i.e., normal, neither depressed nor manic. Dr. Seal diagnosed Charles as a Bipolar I.

(Ex. D-63 at 66; Seal Tr. at 3859-3860)

       217.      On 10/24/17, Robinson saw Charles who reported several new disciplinary write

ups. Robinson discussed the incidents and made goals pertaining to behavior improvement and

discussed family concerns. (Ex. D-63 at 67-68; Robinson Tr. at 3475)

       218.      On 01/11/18, Dr. Seal saw Charles. Charles reported that he was non-compliant

with valproic acid, i.e., Depakote. Charles’ VPA level was 16, consistent with not taking

Depakote. (Seal Tr. at 3862-3863) Dr. Charles diagnosed bipolar I and encouraged Charles to

restart Depakote. (Ex. D-63 at 71; Seal Tr. at 3863-3864)

       219.      On 02/08/18, Robinson saw Charles and noted:

       Offender reports noncompliance with medication. Offender states he is stressed.
       Offender discussed losing two brothers in 2017, being worried about grandmother's
       health, and the distance from his family. Offender agreed to restart his medication,
       and also made two short term goals. Offender verbally consented for writer to
       contact his aunt, Stacy [phone number listed]. Denies SI/HI.

(Ex. D-63 at 72-73; Robinson Tr. at 3476-3477) This is an example of where Robinson would call

a family member for an offender.

       220.      On 03/28/18, Robinson saw Charles while he was on suicide watch. She noted the

following:

       Offender is calm and cooperative. Offender denies SI/HI. Offender expressed being
       worried about family. Discussed coping skills and being compliant with
       medications. Writer will attempt to contact family. Discontinue SSW and RTQ.

(Ex. D-63 at 78-79; Robinson Tr. at 3477-3478)

       221.      On 05/03/18, Hayden saw Robinson due to medication non-compliance and noted

the following:



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       Offender reports that after speaking with his lawyer it was decided that he not any
       medication unless he can be placed on the medication of his choice. (Wellbutrin)
       He denies any S/I, H/l, or other MH concerns. He was encouraged to continue
       taking his medications as prescribed.

(Ex. D-63 at 81-82; Hayden Tr. at 3664-3665) Dr. Seal testified as to how Wellbutrin is a drug of

abuse in prisons. Offenders crush Wellbutrin and snort it which gives them a little high like

cocaine. (Seal Tr. at 3871-3872; Thompson Tr. at 3994)

       222.      On 05/16/18, Hayden saw Charles due to medication noncompliance and noted:

       Offender states that he has 14 months left in prison and has no need for mental
       health medications and never did. Nor has he ever actually taken any medications
       prescribed to him. He was urged to take all medications as prescribed and informed
       of the importance of his compliance.

(Ex. D-63 at 98-99; Hayden Tr. at 3665-3666)

       223.      On 05/21/18, Robinson saw Charles while he was on suicide watch and reported

the following:

       Offender denies SI. When questioned about SI, offender states, “I didn’t want to be
       by the showers and making security work.” Discontinue SSW and RTQ.

(Ex. D-63 at 110-111; Robinson Tr. at 3485-3486)

       224.      On 05/22/18, Hayden saw Charles for medication noncompliance and noted the

following:

       he has never taken any mental health medications prescribed to him and never will.
       He further reports that he was attempting to be shipped to EHCC but now wants to
       do the small amount of time he has left and get out of prison.

(D-63 at 113-114; Hayden Tr. at 3666-3667)

       225.      On 05/31/18, Dr. Seal discontinued Depakote because he was not taking it. (D-63

at 115; Seal Tr. at 3864-3865)

       226.      On 06/19/18, Robinson saw Charles for a mental health follow up and noted the

following:


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       Seen offender for MH F/U. Offender is calm and cooperative. When questioned
       about mood, Offender replied, “I’m doing good." Offender was excited due to
       receiving a letter from aunt. Discussed family dynamics and possible discharge
       plans. Also, discussed anger management. Denies SI/HI.

(Ex. D-63 at 119-120; Robinson Tr. at 3487) Hayden similarly noted on 06/19/18, that Charles

was “doing well since removal of his mental health medications . . . .” (D-63 at 121-122; Hayden

Tr. at 3671-3672)

       227.     On 09/17/18, Robinson saw Charles for LOC and noted that:

       Seen offender for MH F/U. Offender is calm and cooperative. When questioned
       about mood, Offender replied, “I'm doing good." Offender was excited due to
       receiving a letter from aunt. Discussed family dynamics and possible discharge
       plans. Also, discussed anger management Denies SI/HI. Denies any mental health
       concerns at this time.

(Ex. D-63 at 123-124; Robinson Tr. at 3488)

       228.     On 11/01/18, Dr. Seal saw Charles and noted that Charles refused medications and

that his bipolar I diagnosis was in remission. (Ex. D-63 at 127; Seal Tr. at 3867) The fact that

Charles was doing well, not getting any more write ups and was not taking medication made Dr.

Seal question the diagnosis of bipolar I. (Seal Tr. at 3867-3868) Charles’ LOC changed from

LOC 3 to LOC 5 at that time. (D-63 at 130)

       229.     On 07/30/19, Charles was reassigned to medium custody. (D-63 at 137; Hayden Tr.

at 3672-3673)

       230.     Over the next several months, Charles completed 14 re-entry courses. (D-63 at 138-

140) These classes were held on Monday, Wednesday and Friday. (Hayden Tr. at 3674)

       231.     On 11/06/19, Charles was released from DPS&C custody. (Ex. D-63 at 141;

Hayden Tr. at 3674)

       232.     Charles’ records show that he consistently acted out and was a bad actor with no

mental illness. Once he decided he wanted to do his time and get out, he had no issues and was


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not taking any medications. Although Charles is the lead plaintiff in this case, he did not testify.

Charles’ records completely undermine the plaintiffs’ claims in this case.

       233.    Corey Adams is a case of an offender that was “bad” and “manipulative.”

       234.    Adams was convicted of second-degree murder and sentenced to life in prison.

(Adams Tr. at 993) He has had many disciplinary write ups in prison as well. (Adams Tr. at 993)

       235.    Adams would cut himself before he was in prison. (Adams Tr. at 994) While at

LSP, prior to coming to DWCC, Adams cut himself 16 times during 2017. (Adams Tr. at 994)

       236.    On 11/28/17, Adams was initially transferred to DWCC. (Ex. D-64 at 47) He saw

Dr. Seal on 01/11/18 who diagnosed psychosis NOS and prescribed medications. (Ex. D-64 at 52;

Seal Tr. at 3868-3870) On 02/22/18, Adams was reclassified as medium security. (Adams Tr. at

998) He was thereafter transferred to EHCC. (Adams Tr. at 998) During these three months at

DWCC, Adams had no instances of cutting himself. (Adams Tr. at 998)

       237.    On 03/13/18, EHCC performed an assessment & intervention which included a

diagnose of malingering for placement and anti-social personality disorder. (Ex. D-64 at 86-90;

Seal Tr. at 3873-3874) Dr. Seal explained that a person with an anti-social personal disorder is

someone who has a lack of concern for anyone except one’s self and that the person is out to get

what they can get for themselves no matter who suffers because of what they do. (Seal Tr. at 3874)

       238.    During the 56 days Adams was housed at EHCC, Adams cut himself eight times.

(Adams Tr. at 999)

       239.    On 04/23/18, Adams was transferred back to DWCC. (Hayden Tr. at 3696-3697)

Mental health staff saw Adams on 04/23/18, 04/24/18, and 04/25/18. (Ex. D-64 at 169-170, 173-

176)




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       240.     On 04/26/18, three days after arriving at DWCC, Dr. Seal saw Adams. Dr. Seal

diagnosed Adams as psychosis NOS and ignored the malingering diagnosis from EHCC. (Ex. D-

64 at 177; Seal Tr. at 3874)

       241.     On 07/02/18, Adams reported wanting to be prescribed Wellbutrin. (Ex. D-64 at

187) As alluded to above, Wellbutrin is a drug of abuse in prison that can be snorted. (Seal Tr.

at 3871-3872)

       242.     On 07/05/18, Adams saw Dr. Seal who continued the same medications, without

adding Wellbutrin. (Ex. D-64 at 188; Seal Tr. at 3876-3877)

       243.     On 08/17/18, Adams threatened to act out if he did not get specific medications he

wanted, i.e., “I want Wellbutrin. I’ve tried asking. Now you will see.” (D-64 at 261-262)

       244.     Adams was at LSP and then EHCC prior to being transferred to DWCC. At EHCC

prior to being transferred to DWCC, Adams engaged in the exact same behavior that was thereafter

occurred at DWCC. (Burns Tr. at 4469) The treatment provided by EHCC was more intensive

than treatment available at DWCC. (Burns Tr. at 4470) EHCC accomplished none of the goals

for Adams. (Burns Tr. at 4472) EHCC diagnosed Adams as a malingerer. (Burns Tr. at 4469-

4470) Mental health staff saw Adams 78 times over 150 days while he was at DWCC. (Burns Tr.

at 4470-4471; Hayden Tr. at 3711-3712) His behavior at DWCC thereafter was exactly the same

as his behavior at EHCC. (Burns Tr. at 4469, 4472)

       245.     The record shows that Adams was a “bad” offender diagnosed as both a malingerer

and an anti-social personality disorder who acted the same at EHCC as he did at DWCC. There is

no indication that anything about restrictive housing at DWCC caused Adams’ problems.




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       246.    We next address Anthony J. Caro III. He was transferred to DWCC on 11/14/16.

(Ex. D-75 at 25; Hayden Tr. at 3677-3678) He was an LOC 5 upon transfer to DWCC because he

never had a history of mental health concerns. (Ex. D-75 at 26; Hayden Tr. at 3678)

       247.    On 07/13/17, Dr. Seal saw Caro for the first time. (Ex. D-75 at 61) Because Caro

was noncooperative, Dr. Seal did not have enough information to assess or treat Caro at that time.

(Seal Tr. at 3916)

       248.    On 09/07/17, Dr. Seal saw Caro and again did not have enough information to

assess or treat Caro due to him being uncooperative. (Ex. D-75 at 63; Seal Tr. at 3917-3918) Caro

refused medications that Dr. Seal offered. (Seal Tr. at 3919)

       249.    On 11/09/17, Dr. Seal saw Caro and still did not have enough information to assess

or treat Caro due to him being uncooperative. (Ex. D-75 at 71; Seal Tr. at 3920-3921)

       250.    On 03/22/18, Dr. Seal saw Caro and was able to diagnose him with psychosis NOS

and prescribed medications. (Ex. D-75 at 94; Seal Tr. at 3922-3923)

       251.    On 04/03/18, Hayden saw Caro for medication noncompliance and noted that:

       Offender states that he has no need for mental health medications and only agreed
       to take them to assist with his being transferred. He further states that he will be
       no problems for staff if he is transferred as he was promised.

(D-75 at 96-97)

       252.    On 04/23/18, Hayden saw Caro due to noncompliance with medications and noted:

       Offender states that he has no need for MH medications and only agreed to be seen
       in psychiatric clinic to help in his chances for a transfer. He denies any S/I, H/l, or
       other MH concerns. He was urged to take all medications prescribed to him until
       he could be evaluated by Dr. Seal. Schedule for next psychiatric clinic and follow
       up per policy.

(Ex. D-75 at 98-99; Hayden Tr. at 3682)




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        253.   On 04/26/18, three days later, Dr. Seal saw Caro who refused to take medications.

Dr. Seal encouraged Caro to take medications. (Ex. D-75 at 100; Seal Tr. at 3923-3924; Hayden

Tr. at 3683)

        254.   On 05/01/18, Caro was transferred to EHCC, not because of his illness, but because

of his behavior and for refusing treatment. (Ex. D-75 at 101; Seal Tr. at 3925; Hayden Tr. at 3684-

3685)

        255.   On 05/09/18, EHCC performed an assessment & intervention on Caro which

diagnosed him as malingering for transfer. (Ex. D-75 at 103-106; Hayden Tr. at 3687-3688)

        256.   On 05/14/18, Caro was transferred back to DWCC where the diagnosis of

malingering for placement was noted. (Ex. D-75 at 108; Hayden Tr. at 3686-3687)

        257.   On 05/31/18, Dr. Seal saw Caro who noted that Caro was diagnosed with

malingering, psychosis, and anti-social personality disorder. (Ex. D-75 at 109; Seal Tr. at 3927)

        258.   On 06/26/18, Hayden saw Caro due to medication noncompliance and noted that:

        Offender reports that he only agreed to take medication due to Col. Nail promising
        to transfer him if he did. He further reports that he will not take any medication
        and is giving the Col. 1 week to transfer him before “he goes the f*** off.”

(D-75 at 113-114; Hayden Tr. 3690)

        259.   As promised, on 07/09/18, Caro went off on security. (Ex. D-75 at 116) An

offender who says that he is giving the colonel one more week before he goes off, and then goes

off is acting pursuant to a plan - a plan is not a decompensation event. (Seal Tr. at 3929) Hayden

visited with Caro during his incident for 30 minutes or more. (Ex. D-75 at 145-146; Hayden Tr.

at 3692)

        260.   On 12/13/18, Hayden saw Caro while he was on suicide watch and noted:




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       Offender reports that he is doing well and stated, “This ain’t nothing against you,
       but I got them lawyers working for me and need to stay of in here a little bit longer.”
       When asked if he had any S/I he replied, “Yep.” Continue SSW.

(Ex. D-75 at 193-194; Hayden Tr. at 3694-3695) This document is relevant as it shows that Caro,

like many other offenders, is using suicide watch and threats pertaining to mental health as a

pretext.

       261.    On 12/14/18, Hayden saw Caro while he was on suicide watch and noted:

       Offender is calm and cooperative. Offender denies suicidal and homicidal
       ideations. When questioned about suicidal ideations, offender stated, “I’m done
       playing with y’all. You know I wasn’t going to kill myself.” Discontinue SSW and
       RTQ.

(Ex. D-75 at 195-196)

       262.    On 02/07/19, Dr. Seal saw Caro and diagnosed him as psychosis NOS. (Ex. D-75

at 200; Seal Tr. at 3930-3931)

       263.    Caro’s records show him to be a manipulative offender throughout.

       264.    Christopher Solomon is another manipulative offender.

       265.    Solomon was convicted for armed robbery and sentenced to ten years in prison.

(Solomon Tr. at 631) Solomon had 37 disciplinary write ups between 2015 and December of

2019. (Solomon Tr. at 631-632) In fact, there was a drastic uptick in the number of disciplinary

write ups in 2019 when he received 26 of the 37 total. (Solomon Tr. at 632)

       266.    On 06/07/16, prior to coming to DWCC, Solomon hand wrote a note in which he

expressed his displeasure with security at being written up for a sex offense. He expressly stated:

       I’m going to keep throwing shit and break windows, break lights spit on people,
       fight all your trustees. Fair warning I did 10 months in Afghanistan I don’t give a
       f*** bout this lock down Yall can send me to Angola camp J and Im still going to
       do me. Yall going to have to kill me before the week over.

       The games begins.



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(Ex. D-69 at 6-7; Solomon Tr. at 632-636)

       267.   On 01/03/18, Solomon was transferred to DWCC from a local parish prison. (Ex.

D-69 at 8; Hayden Tr. at 3595) He was transferred to DWCC for medical care after he broke in

jaw in an altercation with another offender. (Solomon Tr. at 637)

       268.   Because Solomon was transferred from a parish facility, DWCC performed the

assessment & intervention on Solomon. Solomon was an LOC 5 with no mental health history.

(Ex. D-69 at 12; Hayden Tr. at 3596-3597)

       269.   On 06/28/18, Solomon was written up for aggravated disobedience; his sentence

was suspended. (Ex. D-69 at 15; Solomon Tr. at 639)

       270.   On 07/15/18, Solomon received a disciplinary write up for getting into a fight with

another offender. (Ex. D-69 at 16; Solomon Tr. at 640) Solomon was transferred to restrictive

housing because of this disciplinary write up. (Solomon Tr. at 640)

       271.   On 02/04/19, Solomon was transferred to EHCC. (Ex. D-69 at 29) EHCC

performed an assessment & intervention on Solomon, and he was classified as LOC 5H, no current

mental health issues. (Ex. D-69 at 30-33)

       272.   On 03/11/19, Solomon transferred back to DWCC. (Ex. D-69 at 35; Hayden Tr. at

3599-3600)

       273.   On 09/24/19, a request for mental health services completed by Hayden for

Solomon provides:

       When offender Solomon was seen in regards to his sick call he stated, “I ain't fixing
       to talk to your ass. My lawyers already told me that I don't have to have shit to do
       with you. Trot your ass back down and get that bitch Dauzat. After she talks to me
       she can show me that pretty little pussy of hers. On second thought just tell that
       bitch to come and show me her pussy. She is too stupid to talk to since she is the
       one who hired your ass.”

(Ex. D-69 at 113; Hayden Tr. at 3742-3743)


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       274.     On 09/25/19, a disciplinary report provides that Solomon told Hayden that,

       “I ain’t fixing to talk to your ass. My lawyers already told me that l don’t have to
       have shit to do with you. Trot your ass back down and get that bitch Dauzat. After
       she talks to me she can show me that pretty little pussy of hers. On second thought
       just tell that bitch to come and show me her pussy. She is too stupid to talk to since
       she is the one who hired your ass.” I then exited the tier while offender Solomon
       continued to curse and make threats.

(Ex. D-69 at 114; Solomon Tr. at 659)

       275.     On 10/02/19, a request for mental health services completed by Hayden for

Solomon provides, “Offender reports that he was advised not to speak with me due to my not being

licensed by the state and he will only speak with Warden Dauzat.” (Ex. D-69 at 119; Hayden Tr.

at 3743-3744)

       276.     Solomon’s record clearly shows an offender who is “bad,” not one who is “mad.”

       277.     On 04/03/19, Hayden saw Cody Doucet and noted that:

       Offender reports that he was instructed to act out by fellow offenders in an attempt
       to be transferred to EHCC. He denies any S/I, H/I, or other MH concerns. Continue
       SSW until seen by Dr. Seal.

(Ex. D71, pp. 53-54; Hayden Tr. at 3745-3746) This record shows that the offenders conspired

with each other to manipulate and act out.

       278.     Offenders refer to claiming suicide ideation in order to make security work as

“playing” with security. Just a few examples of such actions are:

      “The games begin” by Solomon, addressed above. (Ex. D-69 at 7; Solomon Tr. at 632-
       636)
      “I’m tired of playing. I’m not suicidal” by Adams. (Ex. D-64 at 301)
      When asked about suicide ideation, Adams stated “This is how this sh** works, you mother
       f***kers want to play games with me and f*** with me, I play games with you and f***
       with you. I’m mother f***king suicidal.” (Ex. D-64 at 311)
       “I’m done playing with yall. You know I wasn’t going to kill myself.” by Caro. (Ex. D-75
       at 196)




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        279.      Even though there is clear and obvious evidence that offenders malinger and/or take

actions for secondary gain, the DWCC mental health staff never uses the term malingering without

a diagnosis from EHCC first. (Burns Tr. at 1480) Aerial Robinson was clear that DWCC does

not use the word “malinger.” (Robinson Tr. at 3509) Instead, the DWCC mental health staff treats

what is in front of them at the time. So, if an offender says they are suicidal because they want a

tier change, then they are suicidal. Whether they get the tier change or not is not the concern.

(Robinson Tr. at 3509) Hayden similarly testified that:

        All I can go with is what the offender tells me. If he tells me he’s suicidal I take
        him as suicidal. But the actions that go along with it very much appeared to be a
        secondary gain scenario. But we go with what he tells us and we treat him
        accordingly. If he says that he is, you know, suicidal, then we take all precautions
        while he is suicidal.

(Hayden Tr. at 3709) Finally, Robinson testified similarly that she does not document every time

that she believes an offender is malingering. Instead, she treats every expression as face value and

reacts accordingly. (Robinson Tr. at 3509) Dr. Thompson, Defendants’ expert psychiatrist,

testified that:

        So what I would worry about is if there were times when he was saying, oh, this
        guy is malingering so I am not going to put him on suicide watch because he is
        obviously faking. And that doesn’t appear to be occurring. What happens is that
        they -- they err on the side of caution when they put people on suicide watch, and I
        think they err on the side of caution when they are taking people off suicide watch.

(Thompson Tr. at 3986) Dr. Thompson further explained that DWCC listens to offenders and

places them on suicide watch if there is a suspicion of the need, all without having too many suicide

watches. (Thompson Tr. at 4049-4050)

        280.      DWCC treating offenders and their complaints at face value when presented with

what is clear evidence of malingering and secondary gain (even backed by diagnoses at EHCC) is




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the very opposite of deliberate indifference. The DWCC mental health staff is to be commended

for the manner in which they respond to what is clear evidence of malingering and secondary gain.

   K. There is no credible evidence that offenders deteriorate or decompensate while in
      restrictive housing

       281.    One of plaintiffs’ primary allegations is that offenders in restrictive housing suffer

and get worse, i.e., that they decompensate and deteriorate while in restrictive housing. The record

disproves these allegations.

       282.    Plaintiffs presented no evidence that serious mental illness is increasing at DWCC.

To the contrary, Dr. Thompson specifically found that serious mental illness was not increasing at

DWCC. (Thompson Tr. at 4081-4082)

       283.    It is undisputed that an offender in general population can deteriorate. (Haney Tr.

at 3027)

       284.    As discussed in detail above, Bruce Charles, the named plaintiff, stopped taking his

psychotropic medications and got better while in restrictive housing. (Haney Tr. 3066-3067)

Charles is exactly the opposite of what Plaintiffs contend.

       285.    Carlton Turner is an offender who got better while in restrictive housing—again,

the exact opposite of what is alleged by plaintiffs.

       286.    On 02/05/15, Dr. Seal saw Turner and diagnosed him with major depressive

disorder; he increased his medications in response. (Ex. D-66 at 18; Seal Tr. at 3880-3881)

       287.    On 06/01/15, Hayden saw Turner while Turner was in general population on the

North South. Hayden noted the following:

       He then stated, “I saw Warden Dauzat walk in, can you call her to see me?” I asked
       if his question was anything that I could answer for him and he replied, “No, I really
       need to speak to her one on one.” I then directed him to write her a letter detailing
       his concerns and she will place him on a call out if warranted or speak to building



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       security staff and they will contact her to determine if she is able to see him. He
       stated, “Let me think on it” and exited the building.

(Ex. D-66 at 21-22) Hayden recalled that there was a problem with Turner writing explicit letters

to Warden Dauzat.

       288.   On 06/10/15, Hayden saw Turner again and noted that:

       Offender reports that he has been watching Warden Dauzat and knows that she
       should be in soon and requests that I catch her coming in to see if she will see him
       in her office. I reminded him of our prior conversation and reiterated that he should
       send her a letter detailing his concerns or ask the MH buildings security staff to call
       her when he comes for a walk in and she will see him if she is available. He replied,
       “With me getting wrote up for writing her that sexual letter saying what I'm going
       to do to her they ain’t gonna let me get in the office with her by myself. But if you
       ask her and catch her off guard I might.” I further explained to offender the proper
       process to take to speak with Warden Dauzat and he will be followed up with per
       policy.

(Ex. D-66 at 19-20; Hayden Tr. at 3726-3727)

       289.   On 08/15/16, Turner was on extreme suicide watch. Hayden saw Turner every two

hours for his mandated breaks. (Ex. D-66 at 67-70; Hayden Tr. 3728-3730) During the first break,

Turner began to bang his head on his bunk and refused to speak with Hayden. Hayden continued

extreme suicide watch and added a protective helmet. (Ex. D-66 at 68; Hayden Tr. at 3728) Later

that same day, Hayden saw Turner again and noted:

       Offender reports that his anger and attempts at self harm were due to his false
       assumption that he had received an RVR. He states that now he has discovered that
       he did not receive a RVR and requests to be removed from ESW. He denies any
       further acts of self harm or any current S/I, H/l, or MH concerns. Downgrade from
       ESW to SSW.

(Ex. D-66 at 71-72; Hayden Tr. at 3731)

       290.   On 10/13/16, Robinson saw Turner at his request after he recently moved to general

population on the North Compound and was having some mood swings (particularly anger mood




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swings). Robinson discussed anger triggers and coping skills with Turner who indicated that he

felt better after the session. (Ex. D-66 at 78-79; Robinson Tr. at 3510-3511)

       291.     On 11/17/16, Robinson gave Turner a disciplinary write up because of derogatory

sexual remarks toward a correctional officer. (Ex. D-66 at 80-85; Robinson Tr. at 3512-3516)

       292.     On 11/17/16, Dr. Seal saw Turner while he was in general population on the North

Compound. Turner indicated that the medications were keeping him from getting depressed,

although he was still with anxiety. Dr. Seal increased his medications. (Ex. D-66 at 87; Seal Tr.

at 3882-3883)

       293.     On 01/25/17, Turner lunged from his chair at a correctional officer while at the

infirmary on call out for a medical visit. Hayden was called to check on Turner after the incident.

(Ex. D-66 at 94; Hayden Tr. at 3735-3736)

       294.     On 04/20/17, Dr. Seal saw Turner. Everything looked good, so Dr. Seal continued

the medications. (Ex. D-66 at 96; Seal Tr. at 3883-3885)

       295.     On 09/21/17, Dr. Seal was unable to see Turner because he was at University

Hospital. (Ex. D-66 at 115; Seal Tr. at 3884)

       296.     In November of 2017, Turner climbed the fence in the recreation area and jumped

trying to reach the adjacent roof. He missed, fell to the ground and broke both legs. Colonel Nail

responded immediately to the incident. Turner told Colonel Nail that he was trying to jump to the

ledge of the adjacent building. (Nail Tr. at 3152-3153)

       297.     On 11/09/17, Dr. Seal saw Turner and noted that he had an escape attempt where

he broke both legs. Dr. Seal noted that LSU had started Turner on lithium which was keeping his

thoughts together. Dr. Seal continued the lithium and changed his diagnosed to bipolar I because

the lithium was working. (Ex. D-66 at 120; Seal Tr. at 3886-3887)



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       298.    On 01/08/18, Hayden saw Turner for an LOC follow up and noted that his current

medication regimen was working as needed and that he was taking the medications as prescribed.

(Ex. D-66 at 122-123; Hayden Tr. at 3737)

       299.    On 04/09/18, Hayden saw Turner for an LOC follow up and again noted that his

current medication regimen was working as needed and that he was taking the medications as

prescribed. (Ex. D-66 at 124-125; Hayden Tr. at 3737-3738)

       300.    On 04/12/18, Dr. Seal was unable to see Turner because he was in the hospital.

(Ex. D-66 at 126; Seal Tr. at 3887)

       301.    On 04/28/18, Dr. Seal saw Turner. Dr. Seal noted that the lithium was keeping his

thoughts straight and that Turner was pleased with the lithium. Dr. Seal had Turner’s blood level

of lithium checked; although the level was on the lower end, Dr. Seal did not change the dosage

because Turner was doing well clinically. Dr. Seal ordered Turner’s blood to be checked again.

(Ex. D-66 at 127; Seal Tr. at 3888-3890)

       302.    On 07/05/18, Hayden saw Turner for an LOC follow up and noted that Turner was

taking all prescribed medications and that they were working as intended. (Ex. D-66 at 131-132;

Hayden Tr. at 3738)

       303.    On 10/04/18, Dr. Seal saw Turner who was doing well. The medications were

continued. (Ex. D-66 at 135; Seal Tr. at 3891)

       304.    On 02/04/19, Hayden saw Turner for an LOC follow up and noted that Turner was

taking all mental health medications as prescribed and that they were working as intended. (Ex.

D-66 at 137-138; Hayden Tr. at 3739)

       305.    On 03/07/19, Dr. Seal was unable to see Turner because he was in the hospital.

(Ex. D-66 at 139; Seal Tr. at 3892)



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       306.    On 03/21/19, Dr. Seal saw Turner and noted that Turner’s mood continued to be

stable on lithium with no side effects. Dr. Seal addressed Turner’s blood levels based upon testing

results. (Ex. D-66 at 141; Seal Tr. at 3892-3893)

       307.    The record shows that Turner actually stabilized and improved while in restrictive

housing, contrary to the Plaintiffs’ base allegation in this case.

       308.    We next address Jesse Sullivan. On 02/02/17, Dr. Seal saw Sullivan and diagnosed

him with mood disorder not otherwise specified. Dr. Seal opted to increase two of his medications

at that time. (Ex. D-68 at 19; Seal Tr. at 3894-3895)

       309.    On either 07/13/17 or 09/13/17, Dr. Seal saw Sullivan who presented very similar

to before. Dr. Seal increased the Effexor medication. (Ex. D-66 at 23; Seal Tr. at 3895-3896)

       310.    On 12/21/17, Dr. Seal saw Sullivan. Sullivan reported that his mood was fair but

that he would get cranky in the afternoon. Dr. Seal split the Effexor doses into two doses to address

Sullivan’s complaint about afternoon crankiness. (Ex. D-66 at 27; Seal Tr. at 3896-3897)

       311.    On 03/08/18, Dr. Seal saw Sullivan. Sullivan reported no improvement in his

afternoon mood. Dr. Seal increased his Effexor to respond to his afternoon mood complaints. (Ex.

D-66 at 30; Seal Tr. 3897-3898)

       312.    On 05/24/18, Dr. Seal saw Sullivan. Sullivan’s mood was good, but he was now

experiencing stomach pains for the last two to three days. Dr. Seal decreased Effexor in order to

reduce the stomach side effects. Sullivan wanted Wellbutrin, the drug that is abused in prison; Dr.

Seal declined. (Ex. D-66 at 32; Seal Tr. at 3898-3899)

       313.    On 10/11/18, Dr. Seal saw Sullivan. Sullivan was requesting to increase Effexor

because it did not cause his stomach problems. Dr. Seal increased Effexor for Sullivan. (Ex. D-

66 at 34; Seal Tr. at 3900)



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       314.   On 03/21/19, Dr. Seal saw Sullivan. Sullivan was doing well. Dr. Seal continued

the medications as prescribed. (Ex. D-66 at 43; Seal Tr. at 3901)

       315.   On 08/15/19, Dr. Seal saw Sullivan. Again, Sullivan was doing well, and Dr. Seal

continued the medications as prescribed. (Ex. D-66 at 108; Seal Tr. at 3902)

       316.   Sullivan’s records show that Dr. Seal was responsive to his complaints and adjusted

his medications until they worked appropriately for him. There is no indication whatsoever that

Sullivan experienced any problems or deterioration from being housing in restrictive housing.

       317.   Even though the Defendants produced hundreds of body camera videos, Plaintiffs

introduced no video whatsoever of any purported decompensation event.

   L. Restrictive housing does not present an objectively intolerable risk of harm

       318.   The issue of whether restrictive housing causes or contributes to mental illness is

unsettled. All three experts, Dr. Thompson for the defendants and Dr. Burns and Dr. Haney for

the plaintiffs testified to what is known as the Colorado Study. (Thompson Tr. at 4059-4065,

4081, 4142-4147; Burns Tr. at 1458-1463; Haney Tr. at 3037-3038) The Colorado Study was a

longitudinal study of the entire Colorado system undertaken with the goal of proving the

hypothesis that restrictive housing causes or aggravates mental illness. (Thompson Tr. at 4059-

4060; Burns Tr. at 1458; Haney Tr. at 3037) At the end of the one-year study, to the surprise of

the researchers, mental illness of offenders in restrictive housing did not get worse. (Thompson

Tr. at 4060; Burns Tr. at 1462; Haney Tr. at 3037-3038) The Colorado Study actually refuted the

very premise sought to be proven.

       319.   The Colorado Study was peer reviewed prior to being published. (Thompson Tr.

at 4143; Haney Tr. at 3038) The peer review process means that the study went to three or four

other experts in the field and a statistician prior to publication. (Thompson Tr. at 4143) Dr.



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Thompson and Dr. Burns testified that the Colorado Study is an authoritative study in the field.

(Thompson Tr. at 4059-4064; Burns Tr. at 1460)

        320.   In addition to the Colorado Study, two meta-analyses were undertaken in 2016

summarizing the literature on whether restrictive housing causes or aggravates mental illness.

(Thompson Tr. at 4060-4063; Haney Tr. at 3038-3043) A meta-analysis surveys and summarizes

the literature. As with the Colorado Study, the meta-analyses also failed to prove the hypothesis

that restrictive housing causes or aggravates mental illness.      Instead, the meta-analysis by

Gendreau and Lebreque concluded that, contrary to some scholarly discourses, evidence to date

suggest that administrative segregation does not produce dramatic negative psychological effects

unless extreme conditions apply. (Haney Tr. at 3039) The meta-analysis performed separately by

Dr. Morgan “did not support the popular contention that administrative segregation is responsible

for producing lasting emotional damage.” (Haney Tr. at 3042) Dr. Morgan further concluded in

his meta-analysis study that restrictive housing “may not produce any more of an iatrogenic effect

than routine incarceration.” (Haney Tr. at 3043) The meta-analysis studied a lot of different

prisons and conditions and confirmed the results of the Colorado study. (Thompson Tr. at 4060-

4061)

        321.   In 2016, the National Institute of Justice (“NIJ”) published a research paper on

restrictive housing which includes a chapter entitled, “Restrictive Housing in the U.S., Issues,

Challenges, and Future Directions” (referred to as the NIJ White Paper). (Burns Tr. at 1463) The

NIJ is the research, development, and evaluation agency of the United States Department of

Justice; its mission is advance scientific research, development, and evaluation to enhance the

administration of justice and public safety. (Haney Tr. at 3029)

        322.   The NIJ White Paper states that there are two points of view and no consensus on



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whether restrictive housing causes mental illness or harm. (Burns Tr. at 1464) The NIJ White

Paper further states that there is surprisingly little empirical evidence that demonstrates an

exacerbation of psychiatric symptoms in restrictive housing with a mental illness diagnosis and

there are very few areas where the data on whether restrictive housing causes harm is clear and

compelling. (Haney Tr. at 3030-3031) Even Dr. Haney, plaintiffs’ expert, agreed that there are a

limited number of studies that directly address the issue of whether restrictive housing causes

mental illness because, in his words, “it is so clearly commonsensical.” (Haney Tr. at 3031-3036)

       323.      Dr. Thompson explained in a very balanced and cogent manner that the research

does not support the proposition that restrictive housing causes or makes mental illness worse. Dr.

Thompson related how researchers studied the issue for a year in the Colorado study. After a year,

the researchers found that offenders tended to accommodate to the restrictive housing

environment. (Thompson Tr. at 4059-4060) The results of the Colorado study were not what the

researchers expected to see; in fact, the researchers were astonished by the results. (Thompson Tr.

at 4060, 4142)

       324.      The Colorado study caused a backlash and the issue is a highly charged and

controversial issue for some in the field. (Thompson Tr. at 4060-4062)

       325.      Dr. Haney used an instrument that asked offenders to endorse certain complaints.

Dr. Thompson explained that approach has not been has not been research validated. (Thompson

Tr. at 4081) Neither Dr. Haney nor Dr. Burns performed a longitudinal study of the individuals at

DWCC. (Thompson Tr. at 4085) Without such a study, neither has a basis to say that the number

of mentally ill is increasing at DWCC. (Thompson Tr. at 4085)

       326.      The bottom line is that with control groups and standardized instruments, studies

do not show big changes in the number of mentally ill people in restrictive housing; there is not a



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lot of worsening of mental health symptoms, regardless of DSM diagnosis. (Thompson Tr. at

4061) It simply is not true, based upon the research data, that offenders in restrictive housing get

worse as a group because offenders accommodate to the environment. (Thompson Tr. at 4141-

4144, 4159)

       327.    Dr. Burns, Plaintiffs’ own expert, testified that, “I am not saying that it was

extended lock-down that caused [offenders] to develop [mental illness].” She further explained

that “[t]here is a lot of biological information and other things that - social information. We don’t

really know who will get a mental illness and who won’t get a mental illness.” (Burns Tr. at 1465)

       328.    Plaintiffs’ own experts agree that restrictive housing is a necessary correctional

practice which is commonly used in the United States. (Burns Tr. at 1454; Haney Tr. at 3015)

Indeed, Dr. Burns testified that every prison system in the country uses restrictive housing,

and Dr. Haney testified that 98% of the prisons in the country use restrictive housing. (Burns

Tr. at 1454; Haney Tr. at 3015-3016) A practice that is utilized in 98% of the prisons in the

country cannot present an objectively intolerable risk of harm.

       329.    Based upon the science and testimony above, there is no objective risk of serious

harm from housing offenders who either have no mental illness or whose mental illness is stable

or in remission in restrictive housing in a modern prison setting.

       330.    Without an objective risk of serious harm, Plaintiffs’ claims must fail.

   M. Plaintiff’s evidence did not prove their case

       331.    Plaintiffs’ evidence simply did not rise to the very high standard of proving that the

Defendants were deliberately indifferent and that the conditions at DWCC are cruel and unusual.

       332.    Testimony by the offenders consisted of evidence that is demonstratively false and

otherwise fantastical and incredible. Offenders testified to being sprayed with chemical spray at



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least 30 times per week. (Dillon Tr. at 277) This testimony is refuted by the records. Instead of

there being over 120 uses of spray in a month, on average, there were only 8.5 uses of spray a

month. (Ex. J-19)

       333.     Further, the offenders’ testified that the cells were unsanitary and smelled of feces.

This testimony was not supported by any other evidence. Plaintiffs’ experts did not testify to the

cells being dirty and smelling. The Plaintiffs offered no photographs of any such conditions. The

Plaintiffs did not elicit testimony from other witnesses of any such conditions. To the contrary,

Warden Goodwin testified to the sanitation process.         (Goodwin Tr. at 4232-4235) Further,

sanitation is a condition considered as part of the ACA accreditation process. (Ex. D-42 at 32 -

proffer) The offenders’ testimony as to sanitation is simply not credible.

       334.     Finally, it is almost not worth mentioning, but one offender testified that Hayden

made an unidentified offender bark like a dog. Hayden, of course, denied any such conduct.

(Hayden Tr. at 3604-3605) Respectfully, this testimony is a figment of the offender’s imagination

based upon stories from Iraq and Abu Grab. If such truly shocking behavior was taking place, there

would be more witnesses to it. The fantastical testimony has no credibility at all.

       335.     Both Dr. Burns and Dr. Haney had to acknowledge that restrictive housing is a

necessary and common correctional practice utilized in 98% of the prisons in the country. (Burns

Tr. at 1454; Haney Tr. at 3015-3016) There simply has to be a way to discipline offenders who

fail to comply with prison standards and address aberrant behavior. (Burns Tr. at 1454; Haney Tr.

at 3016) Failure to utilize restrictive housing would have a negative impact on general population

at DWCC and elsewhere. Dr. Haney and Dr. Burns further agreed that DWCC does not keep

offenders in restrictive housing for too long a period of time. (Burns Tr. at 1456-1458; Haney Tr.

at 3025-3027)



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       336.    Plaintiffs’ psychiatrist expert, Dr. Burns, actually supports the Defendants’ case. Dr.

Burns established that DPS&C properly identified offenders with serious mental illness and that

only offenders whose serious mental illness is stable or in remission (LOC 3 and LOC 4) are housed

in restrictive housing. (Burns Tr. at 1478-1480) She further established that Dr. Seal’s diagnoses

of the offenders are correct and that his medication management is appropriate. (Burns Tr. at 1507)

       337.    Respectfully, while there is always room for improvement (and improvements have

been and are being made), the record does not show that the Defendants are deliberately indifferent

to the Plaintiffs’ serious medical needs or that restrictive housing at DWCC is cruel and unusual or

below the constitutional standard.

   N. Defendants were not subjectively indifferent to the offenders’ serious mental health
      needs

       338.    None of the defendants are being subjectively indifferent to offenders’ serious

mental health needs. There is substantial, if not overwhelming evidence, that the Defendants are

not being deliberately indifferent to the Plaintiffs’ serious mental health needs.

       339.    Sectary Le Blanc and the Department of Corrections have worked with the Vera

Institute in good faith to address alleged concerns regarding administrative lockdown and has

adjusted accordingly. (Le Blanc Tr. at 2574; Smith Tr. at 2495-2496, 2535-2539, 2540-2541)

       340.    The Louisiana Department of Public Safety and Corrections uses ACA standards

and department regulations and policies to ensure that its facilities comply with the U.S.

Constitution and applicable law. (Le Blanc Tr. at 2561)

       341.    The entire Department of Corrections, including probation and parole, are ACA

accredited. (Le Blanc Tr. at 2581)




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       342.    Warden Goodwin has relied upon the advice and counsel of mental health

professionals as to the appropriate means to provide mental health care to offenders on the South

Compound.

       343.    Colonel Nail and Colonel Mays have overseen security of the South Compound

while complying with directives from superiors and relying upon mental health professionals as to

the appropriate means to provide mental health care to offenders on the South Compound.

       344.    Dr. Seal has provided treatment and appropriate medication management to

offenders on the South Compound as shown by the fact that Dr. Burns is not critical of Dr. Seal’s

diagnoses or medication management of offenders.

       345.    Warden Dauzat has supervised and overseen mental health care to offenders

following the guidance from superiors and Dr. Seal.

       346.    Defendants Hayden and Robinson have provided mental health care to offenders in

compliance with policies directed by superiors and under the guidance of Dr. Seal.

       347.    Defendant Adkins no longer provides mental health care at DWCC. (R. Doc. 524,

Stipulation ¶ 99)

       348.    DWCC is an ACA accredited institution. (Goodwin Tr. at 4191; Ex. D-43) The

ACA reviews security and mental health provided in restrictive housing as part of the accreditation

process. (Goodwin Tr. at 4193-4194) ACA accreditation is evidence which negates subjective

intent. (Upchurch Tr. at 3221-3223)

       349.    DPS&C has reduced its reliance on restrictive housing. Since 2016, DPS&C

closed Camp J at LSP. (Thompson Tr. at 4066-4067) In fact, the percentage of offenders

held in restrictive housing by DPS&S decreased from 19.0% in 2017, the highest in the nation,

to 4.8% in 2019, below the national average of 5%, 11th in the country. (Haney Tr. at 3408-



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3049) This drastic reduction in the percentage of offenders housed in restrictive housing at

DPS&C negates subjective intent.

       350.   Indeed, it is the goal of DPS&C to eliminate restrictive housing altogether,

meaning getting offenders out of their cells two hours or more a day. (Smith Tr. at 2542-

2543) Such intent negates subjective intent.

       351.   The number of offenders in maximum custody on the South Compound has been

reduced from 344 as of January of 2017 to 228 as of March of 2020. (Ex. J-21) The reduction in

the number of offenders in maximum custody at DWCC negates subjective intent.

       352.   DWCC trains all of its employees on mental health first aid, provides mental

health training to correctional officers, and provides suicide recognition and prevention

training to all employees. (Exs. D-27, D-33, D-34) This training negates subjective intent.

       353.   DPS&C screens offenders upon intake, usually at EHCC. That screening is

robust and results in a diagnosis and a LOC classification. Offenders who are classified as

LOC 1 and LOC 2 are not housed at DWCC. (R. Doc. 524, Stipulation ¶ 95; Thompson Tr. at

4001-4002) The screening and the LOC classification negates subjective intent.

       354.   DWCC’s psychiatrist, Dr. Seal, makes appropriate diagnoses and prescribes

appropriate medications.    (Burns Tr. at 1507; Thompson Tr. at 3993-3995)            Having

appropriate diagnoses and prescribing appropriate medications negates subjective intent.

       355.   DWCC mental health staff sees every offender who requests mental health care.

(Burns Tr. at 1509) Seeing offenders who request mental health care negates subjective intent.

       356.   Mental Health staff at DWCC perform weekly rounds on the South Compound and

counsel mental health offenders during those rounds. (Dauzat Tr. at 3354-3355; Thompson Tr. at

4044-4047) Performing weekly mental health rounds negates subjective intent.



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       357.    A segregated interview is performed on all offenders, not just those on the mental

health case load, every 90 days after an offender has been in restrictive housing for more than 30

days to make sure that the offender is functioning okay within the environment. (Dauzat Tr. at

3356-3357) Performing segregated interviews negates subjective intent.

       358.    Mental health staff perform LOC reviews annually and as needed to ensure the

coding is accurate. (Dauzat Tr. at 3358-3359) Performing LOC reviews negates subjective intent.

       359.    DWCC mental health staff see offenders classified as LOC 3 at least every 90 days

and offenders classified as LOC 4 as least every 180 days, per policy. (Dauzat Tr. at 3359-3360)

Mental health seeing offenders consistent with their LOC classification negates subjective intent.

       360.    Even though there is clear and obvious evidence that offenders malinger and/or take

actions for secondary gain, the DWCC mental health staff never uses the term malingering without

a diagnosis from EHCC first. (Burns Tr. at 1480; Robinson Tr. at 3509) Instead, the DWCC mental

health staff treats what is in front of them at the time. (Robinson Tr. at 3509) DWCC’s policy of

treating offenders’ complaint without regard to malingering negates subjective intent.

       361.    DWCC will transfer offenders in need of a higher level of mental health care to

EHCC. (Dauzat Tr. 3314-3315; Ex. D-7 at 4-5) Transferring offenders in need of a higher level

of mental health care from DWCC to EHCC negates subjective intent.

       362.    Serious mental illness was not increasing at DWCC. (Thompson Tr. at 4081-4082)

The fact that serious mental illness was not increasing at DWCC negates subjective intent.

       363.    Suicide watch is a precautionary measure for the safety of the offender and the staff.

(Dauzat Tr. at 3387) Erring on the side of caution and placing offenders on suicide watch when

in doubt negates subjective intent.




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       364.    Mental health staff decides when to start and end suicide watch and what property

the offender can have while on suicide watch. (Ex. J-10 at 4; Dauzat Tr. at 3388-3389) Having

mental health in charge of suicide watch negates subjective intent.

       365.    Offenders on suicide watch are typically monitored by officers in person at 15

minutes intervals and randomly. (Dauzat Tr. at 3390-3391) In addition, the officer in the key

room has a camera for monitoring an offender on suicide watch. (Dauzat Tr. at 3391) Monitoring

offenders while they are on suicide watch negates subjective intent.

       366.    An offender on suicide watch is seen and evaluated daily. (Dauzat Tr. at 3391;

Burns Tr. at 1516) Daily monitoring of offenders on suicide watch negates subjective intent.

       367.    The length of time that offenders at DWCC remain on suicide watch is consistent

with the national average. (Burns Tr. at 1518) Keeping offenders on suicide watch no longer than

typical negates subjective intent.

       368.    Upon termination of suicide watch, mental health staff contacts and evaluates the

offender within seven days. (Burns Tr. at 1520; Hayden Tr. at 3628) Following up with offenders

after suicide watch ends negates subjective intent.

       369.    The number of suicide watches at DWCC is not higher than it should be.

(Thompson Tr. at 4049, 4054-4055; Burns Tr. at 1517-1518)              Not overusing suicide watch

negates subjective intent.

       370.    A review committee at DPS&C headquarters level reviews every suicide attempt,

i.e., an instance where an offender engaged in self-injurious behavior that could have resulted in

death and/or a permanent incapacitating physical disability if no intervention occurred. (Dauzat

Tr. at 3435-3437) A committee review of suicide attempts negates subjective intent.




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          371.   DWCC does not have a problem with too many completed suicides. (Burns Tr. at

1516-1517) Not having too many completed suicides negates subjective intent.

          372.   Correctional officers turn on their body cameras when the use of chemical spray

or other use of force is anticipated. (Nail Tr. at 3141-3142) The use of body cameras negates

subjective intent.

          373.   DWCC does not overuse chemical spray. From 2018 through February of 2020,

DWCC averaged using spray 8.5 times a month. Not overusing chemical spray negates subjective

intent.

          374.   DPS&C was in the process of implementing new policies during the relevant

period of time. (Exs. P-JJJ-42, D-2) Implementing new policies negates subjective intent.

          375.   Secretary Le Blanc explicitly represented to the Court the DPS&C is looking

to improve mental health care. (Le Blanc Tr. at 4436-4439)

          376.   As to security and the conditions of confinement, this is an area where the greatest

deference should be given to the state officials. Secretary Le Blanc succinctly captured the nature

of the problem and why deference is owed to the public officials when he stated:

          you have to be real careful how you do these things. And I have always -- my
          concern is for the public safety, for staff safety, and the population safety. That is
          my biggest concern. Making a wrong move in this situation could -- it could be a
          life threatening situation. And I don’t want that to happen.

(Le Blanc Tr. at 4437) So while certain correctional practices may appear harsh, such practices

have been accepted by Courts as within the sound discretion of the officials charged with

protecting the public. Utilizing practices for the safety of the public, staff and other offenders

negates subjective intent.

          377.   The wealth of evidence shows that the Defendants the Defendants are not being

deliberately indifferent to the Plaintiffs’ serious mental health needs.


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           IV. PROPOSED CONCLUSIONS OF LAW RE: EIGHT AMENDMENT

  Defendants are not deliberately indifferent to South Compound Offenders’ serious
 mental health needs and have not violated the Eighth Amendment as a matter of law.

       378.    “Prison officials [may] violate the Eighth Amendment when they demonstrate

deliberate indifference to a prisoner’s serious medical needs . . . .” Brewster v. Dretke, 587 F.3d

764, 769 (5th Cir. 2009) (citing Wilson v. Seiter, 501 U.S. 294, 297 (1991)).

       379.    “Deliberate indifference is an ‘extremely high’ standard to meet.” Id. at 770; see

also Domino v. Tex. Dep’t of Crim. Just., 239 F.3d 752, 756 (5th Cir. 2001); Cadena v. El Paso

Cty., 946 F.3d 717, 728 (5th Cir. 2020); Valentine v. Collier, 956 F.3d 797, 801 (5th Cir. 2020),

application to vacate stay denied, 140 S. Ct. 1598 (2020) (mem.).

       380.    “Deliberate indifference ‘is a stringent standard of fault, requiring proof that a

municipal [or state] actor disregarded a known or obvious consequence of his action.’” Shadrick

v. Hopkins Cty., Ky., 805 F.3d 724, 737 (6th Cir. 2015) (quoting Bd. of Cty. Comm’rs of Bryan

Cty., Okla. v. Brown, 520 U.S. 397, 410 (1997)).

       381.    Only “unnecessary and wanton infliction of pain” is proscribed by the Eighth

Amendment. Estelle v. Gamble, 429 U.S. 97, 104 (1976) (citing Gregg v. Ga., 428 U.S. 153, 173

(1976)).

       382.    “In a constitutional claim alleging deliberate indifference to the conditions of a

prisoner’s confinement, the plaintiff must satisfy both the ‘subjective and objective requirements’

of the Eighth Amendment inquiry.” Valentine, 956 F.3d at 801 (citing Farmer v. Brennan, 511

U.S. 825, 846 (1994)).

       383.    The Fifth Circuit in Valentine explained that to satisfy the objective requirement,

the plaintiff must show an “objectively intolerable risk of harm.” Id. at 801 (citing Farmer, 511

U.S. at 846) To satisfy the subjective requirement, the plaintiff must show that the defendant: “(1)


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was ‘aware of facts from which the inference could be drawn that a substantial risk of serious harm

exists’; (2) subjectively ‘dr[e]w the inference’ that the risk existed; and (3) disregarded the risk.”

Cleveland v. Bell, 938 F.3d 672, 676 (5th Cir. 2019) (citing Farmer, 511 U.S. at 837).

        384.    The Supreme Court has also held that in cases in which inmates seek injunctive

relief to prevent substantial risks of serious injury from ripening into actual harm, the Eighth

Amendment deliberate indifference standard “should be determined in light of the prison

authorities’ current attitudes and conduct,” i.e. “their attitudes and conduct at the time suit is

brought and persisting thereafter.” Farmer, 511 U.S. at 827. Further, an offender seeking

injunctive relief on the grounds that there is “a contemporary violation of a nature likely to

continue,” must show both the existence of a violation and produce evidence “from which it can

be inferred that the [prison]-officials were at the time suit was filed . . . knowingly and

unreasonably disregarding an objectively intolerable risk of harm, and that they will continue to

do so . . . during the remainder of the litigation and into the future.” Id. at 845-46.

        385.    As regards this showing, inmates “may rely on developments that postdate the

pleadings and pretrial motions, as prison officials may rely on such developments to show that the

prisoner is not entitled to an injunction.” Id. at 827.

        386.    As the Fifth Circuit and a sister court in this circuit have noted, “[t]he

Constitution . . . ‘does not require that prisoners, as individuals or groups, be provided with

any amenity which some person may think is needed to avoid mental, physical, and emotional

deterioration.’” Dockery v. Hall, 443 F. Supp. 3d 726, 748 (S.D. Miss. 2019), aff’d sub nom.

Dockery v. Cain, 7 F.4th 375 (5th Cir. 2021) (citing Newman v. St. of Ala., 559 F.2d 283, 291

(5th Cir. 1977)).




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       387.    Only “extreme deprivation” of one or more of the “minimal civilized measures

of life’s necessities” arise to a violation of the Eighth Amendment. Davis v. Scott, 157 F.3d

1003, 1006 (5th Cir. 1998) (quoting Wilson, 501 U.S. at 304).

       388.    The Dockery court expressly held that expert opinions that offenders should

“be given different types of mental health care and different types of medication, and that the

security and mental health staff should interact with them in a different manner” do not arise

to the level necessary to violate the Eighth Amendment. 443 F. Supp. 3d at 743.

       389.    Solitary confinement serves a legitimate purpose in the prison community as a

deterrent and a punitive force. Novak v. Beto, 453 F.2d 661, 670 (5th Cir. 1971).

The Eighth Amendment imposes a duty upon prison officials to protect offenders from violence at

the hand of other offenders. Farmer, 511 U.S. at 832-33; see also Rhodes v. Chapman, 452 U.S.

337, 347-48 (1981).

       390.    The Fifth Circuit also recognized the paramount concern of security in corrections,

stating: “It is beyond dispute . . . that order must be maintained in the prisons. And when a prisoner

continues to break prison rules even after losing such privileges as going to the movies and being

assigned extra work, the authorities must have some harsher measure to induce compliance with

prison regulations.” Novak, 453 F.2d at 670.

       391.    “[P]rison officials are accorded the widest possible deference in the application of

policies and practices designed to maintain security and preserve internal order.” Tasby v. Cain,

No. 16-277, 2017 WL 4295441, at *7 (M.D. La. Sept. 12, 2017), report and recommendation

adopted, 2017 WL 4322413 (M.D. La. Sept. 28, 2017) (citing Berry v. Brady, 192 F.3d 504, 508

(5th Cir. 1999)).




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       392.     The classification of inmates is a matter left to the broad general discretion of prison

officials, and a failure to refer an inmate for additional treatment, diagnostic testing, or evaluation

is a matter of professional medical judgment that the courts will not normally second-guess in the

context of a claim of deliberate medical indifference. Id. at *9; Cuellar v. Livingston, 321 F. App’x

373, 374-75 (5th Cir. 2009) (upholding the dismissal of an inmate’s claim as frivolous where he

complained of a failure to refer him to a specialist, noting that “the question whether ‘additional

diagnostic techniques or forms of treatment is indicated is a classic example of a matter for medical

judgment.’”).

       393.     The Supreme Court has repeatedly warned that “it is ‘difficult to imagine an activity

in which a State has a stronger interest, or one that is more intricately bound up with state laws,

regulations, and procedures, than the administration of its prisons.’” Woodford v. Ngo, 548 U.S.

81, 94 (2006) (quoting Preiser v. Rodriguez, 411 U.S. 475, 491-92 (1973)); see also Missouri v.

Jenkins, 495 U.S. 33, 51 (1990).

       394.     The Fifth Circuit has also held that “[u]nsuccessful medical treatment, acts of

negligence, or medical malpractice do not constitute deliberate indifference,” nor does an

offender’s disagreement with the medical treatment, absent exceptional circumstances. Gobert v.

Caldwell, 463 F.3d 339, 346 (5th Cir. 2006).

       395.     The Fifth Circuit has held that solitary confinement or restrictive housing is not per

se cruel and unusual punishment. Novak, 453 F.2d at 665; Gates v. Collier, 501 F.2d 1291, 1304

(5th Cir. 1974); LaVergne v. McDonald, No. 19-709, 2020 WL 7090064, at *13 (M.D. La. Nov.

23, 2020), report and recommendation adopted, 2020 WL 7081598 (M.D. La. Dec. 3, 2020). As

far back as 1971, the Fifth Circuit has deferentially endorsed the use of solitary confinement or

restrictive housing. In Novak, the Fifth Circuit stated and warned that:



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         In view of recent tragic incidents in this Nation’s prisons and of the frequent
         assertions of the inadequacy of our penal systems, the burden of judging weighs
         upon us more than usual as we turn to appellants’ contention that solitary
         confinement as administered by the TDC is cruel and unusual punishment. Just as
         our dissenting brother, we are deeply troubled by the lightless cell, the limited
         bedding, and the minimal food provided prisoners in solitary confinement in Texas.
         Nevertheless, we do not find that the imposition of these conditions constitutes
         cruel and unusual punishment as forbidden by the Eighth Amendment. As judges,
         we must look to the extant law and the general practices of our society. Otherwise,
         we run the risk of imposing our own personal moral code on a perhaps unready
         society.

453 F.2d at 664-65.

         396.   The Fifth Circuit has held that denial of outdoor and out-of-cell exercise for thirteen

months while in a 5 x 9-foot cell was not cruel and unusual because there is no record evidence

that the offender was ever placed at “substantial risk of serious harm.” Hernandez v. Velasquez,

522 F.3d 556, 560-61 (5th Cir. 2008). Further, a District Court in Louisiana recently held that

“[c]onfinement to a cell for 23 hours per day does not rise to the level of a constitutional violation.”

LaVergne, 2020 WL 7090064, at *13; see also Milton v. Gusman, No. 10-3309, 2010 WL

5376117, at *1 (E.D. La. Dec. 20, 2010).

         397.   The Court is directed to a remarkably factually similar case of Dockery v. Hall, 443

F. Supp. 3d at 740. The salient facts in Dockery are essentially the same as the facts before this

Court.

         398.   Dockery assessed conditions in the East Mississippi Correctional Facility

(“EMCF”). Plaintiffs alleged numerous allegations, the following of which are most pertinent to

this case:

               With regard to “solitary confinement,” plaintiffs alleged that:

                o offenders who are placed in solitary confinement were not permitted one hour
                  of out-of-cell time per day to shower or have yard time and that they would
                  often go days, and sometimes weeks, without being permitted any out-of-cell
                  time; and (Id. at 733)


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                o and that the length of time some offenders are held in solitary confinement
                  violates their Eighth Amendment rights. (Id. at 743)

           With regard to “mental health care,” plaintiffs alleged, among other things, that:

                o mental health care was deficient and/or inadequate because they were provided
                  infrequent or inappropriate access to mental health providers and were provided
                  insufficient access to other structured mental health treatment programs such as
                  group therapy and mental health activities and the symptoms of their mental
                  diseases were exacerbated by the conditions under which they are housed; (Id.
                  at 734, 742)

                o EMCF’s intake and screening process was inadequate because it allegedly
                  failed to promptly and reliably detect mental health needs and/or failed to insure
                  the continuity of mental health treatment; (Id. at 742)

                o they did not receive prescribed medications as ordered and that the MARs were
                  poor; and (Id. at 740)

                o treatment plans for mentally ill offenders at EMCF were inadequate because
                  they lacked specificity. (Id. at 742)

           With regard to “abuse and excessive force by staff,” plaintiffs alleged that security
            officers often “use excessive force with impunity and with no oversight” and that staff
            “frequently use chemical agents and physical force without warning and in the absence
            of immediate threat of danger or resistance from the prisoners . . . .” (Id. at 734)

        399.    The District Court in Dockery assessed the claims and found no constitutional

violations, and the Fifth Circuit readily affirmed.

        400.    As to the periods of time out of cell, the District Court in Dockery held that:

        Although Plaintiffs complain that they often do not get the five-hours-per-week
        recreation time, or the three showers-per-week as prescribed by EMCF policy,
        longer periods of continuous cell time have been found constitutional. See e.g.
        Hernandez v. Velasquez, 522 F.3d 556, 561-62 (5th Cir. 2008) (finding that the
        denial of recreation time for a thirteen-month period had not violated the prisoner’s
        constitutional rights).

Id. at 743. In this case, the evidence is that the plaintiffs in fact did get time out of cell.

        401.    As to the length of solitary confinement, several plaintiffs in Dockery testified that

they had been held in solitary confinement for extended periods of time. One plaintiff had been


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in solitary confinement for four years (2014 through 2018), and another was in solitary

confinement for two and a half years. Id.       As here, plaintiffs’ expert argued that placing an

offender in solitary confinement can result in his experiencing, inter alia, anxiety, depression,

irrational anger, confused thinking, and increase the risk of suicide and that periods of solitary

confinement should not exceed fifteen days, an opinion mirrored by the National Commission on

Correctional Health Care. Id. In response, the District Court held that:

       The Court finds [the expert] testimony/opinion that a prisoner should not be held in
       solitary confinement for more than fifteen days does not create a benchmark for
       determining whether any constitutional rights have been violated. See Rhodes, 452
       U.S. at 348, 101 S.Ct. 2392 (explaining that expert opinions regarding desirable
       prison conditions do not “suffice to establish contemporary standards of decency.”).
       In addition, Plaintiffs have not shown that their being placed in solitary confinement
       was not justified, or that the conditions under which they are being confined are
       inhumane.

Id. In this case, plaintiffs’ experts did not opine that DWCC is keeping offenders in restrictive

housing for too long a period of time. (Burns Tr. at 1456-1458; Haney Tr. at 3025-3027) As in

Dockery, there is no merit to any such claim otherwise.

       402.    Plaintiffs in Dockery further argued that the mental health care was deficient and/or

inadequate because they were provided infrequent or inappropriate access to mental health

providers and are provided insufficient access to other structured mental health treatment programs

such as group therapy and mental health activities. Plaintiffs also argued that the mental health

staff at EMCF did not adequately respond to offenders who are in mental health crises including

transferring such offenders to outside medical facilities. Id. at 742. The District Court rejected

plaintiffs’ claims of deficient and/or inadequate mental health care holding that:

       Although Plaintiffs, through [their expert], argue that the mental care they are
       receiving is inadequate and that they would likely respond better if different
       treatment was provided, they have not shown that they are being denied treatment,
       that their mental illnesses or disorders are being ignored, or that they are
       intentionally being mistreated. In other words, Plaintiffs’ arguments that they


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       should be screened differently, have different types of treatment plans, and be
       provided different forms of mental health treatment do not establish a constitutional
       violation. The record also shows that Defendants have not acted with deliberate
       indifference with respect to the mental health needs [of] prisoners at EMCF.

Id. The District Court’s opinion in Dockery precisely captures the situation in this case. DWCC

does not ignore claims of mental illness or disorders; instead, the record shows that every offender

who requested mental health was seen by a mental health professional. Plaintiffs are arguing that

they should be provided different forms of mental health treatment. As found in Dockery, such

claims do not rise to a constitutional violation.

       403.    The District Court in Dockery rejected the plaintiffs’ complaints with regard to

medication administration and the MARs holding that:

       To the extent the missed doses or untimely administration of medications evidenced
       on the MARs reflect human error or poor record keeping, they do not amount to
       constitutional violations. See e.g. Daniels v. Williams, 474 U.S. 327, 106 S.Ct. 662,
       88 L.Ed.2d 662 (1986) (holding that negligent conduct does not rise to the level of
       constitutional violations). In addition, there is insufficient evidence that Plaintiffs,
       as a class, suffered substantial harm as a result of the missed doses or delays as is
       required to maintain a Section 1983 claim. See e.g. Mendoza v. Lynaugh, 989 F.2d
       191, 193 (5th Cir. 1993).

Id. at 740. Here, the exact same ruling should result. While plaintiffs have evidence that the

MARs were subject to human error or poor record keeping, such negligence is insufficient to

establish a constitutional violation. The evidence in this case was that the offenders are in fact

receiving appropriate medications prescribed by Dr. Seal. Such evidence negates any claim that

negligent completion of the MARs is a constitutional violation.

       404.    As to screening and treatment plans, the District Court in Dockery held that

“Plaintiffs’ arguments that they should be screened differently, have different types of treatment

plans, and be provided different forms of mental health treatment do not establish a constitutional

violation.” Id. at 742. Here, in this case, the evidence shows that the defendants are in fact



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screening appropriately, both at EHCC and at DWCC. While the defendants acknowledge that

treatment plans need to be individualized, this is not a constitutional violation as found in Dockery.

        405.    As to plaintiffs’ claims that EMCF used excessive force by using chemical spay on

offenders, the District Court in Dockery held that the use of chemical spray on offenders who

refused to comply (refused to allow staff to secure the food tray slots) was appropriate. Id. at 745.

Here, the credible evidence supports DWCC use of chemical spray as an appropriate means to

secure compliance, not an unconstitutional practice.

        406.    On appeal to the Fifth Circuit, the plaintiffs (presumably recognizing the weakness

of their position) argued that the District Court erred by considering the challenged conditions in

isolation instead of in combination. The Fifth Circuit soundly rejected any argument that the

challenged conditions should be evaluated together as being foreclosed by Wilson v. Seiter. 501

U.S. 294. The Supreme Court in Wilson explained that “[n]othing so amorphous as ‘overall

conditions’ can rise to the level of cruel and unusual punishment when no specific deprivation of

a single human need exists.” Id. at 305; Dockery, 7 F.4th at 378.

        407.    The Fifth Circuit further concluded that plaintiffs’ experts’ opinions and views

about specific conditions did not determine Eighth Amendment’s standards of what conditions are

cruel and unusual. Dockery, 7 F.4th at 380.

        408.    Respectfully, Dockery should be determinative and requires that plaintiffs’ claims

be rejected in this case.

        409.    The Court in Williamson v. Larpenter, No. 19-254, 2019 WL 3719761 (E.D. La.

July 15, 2019), report and recommendation adopted, 2019 WL 3718135 (E.D. La. Aug. 7, 2019)

addressed conditions while on suicide watch. Williamson testified that:

        when placed on suicide watch, his possessions were taken away, he was dressed in
        a green smock and placed in a holding cell with four other inmates in what should


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       be a one-man cell. He stated that he was kept there for “two or three days,” until he
       saw Dr. Lo, and he would have been kept there if he had not told Dr. Lo that he was
       okay and no longer feeling that he would hurt himself or others. He testified that
       the conditions in the holding cell were “dirty, with food trays all around,”
       overcrowded and cold. He said the cell was about ten-by-ten feet with a toilet and
       sink and one slab where a mattress was supposed to be located, but there was no
       mattress. He testified that he saw no medical personnel during those two or three
       days until he told Dr. Lo he was no longer suicidal and was returned to general
       population.

Id. at *3. The Court concluded that Williamson was appropriately monitored and addressed by

medical personnel while on suicide watch. Id. at *7. In this case, the evidence further establishes

that DWCC does not overuse suicide watch, that the length of time on suicide watch is consistent

with the national average, and that DWCC does not have too many completed suicides. Plaintiffs’

claims based upon suicide watch fail factually and legally.

       410.    Defendants further refer the Court to the very recent Seventh Circuit case of Rasho

v. Jeffreys, 22 F. 4th 703 (7th Cir. 2022), another case challenging mental health care in a prison.

After a settlement agreement was reached, the monitor noted the shortcomings within the Illinois

Department of Corrections (“IDOC”) as follows:

       Among IDOC’s challenges is the grossly insufficient and extremely poor quality of
       psychiatric services. This overwhelming shortage and lack of standards undermines
       all of the efforts of IDOC to meet the first-year requirements of the Settlement.
       These psychiatric services deficiencies include but are not limited to problems with
       the proper continuation of medications for offenders entering IDOC, lack of timely
       follow-up for offenders prescribed psychotropic medication, dangerous practices
       related to the use of psychotropic medications including those offenders on forced
       medication, lack of following standard protocols for ascertaining side effects,
       extreme delays in obtaining psychiatric evaluations, nonparticipation of
       psychiatrists in the treatment planning process, lack of timely psychiatric follow up
       for offenders assigned to crisis beds, and problems related to those offenders
       designated as requiring inpatient level of psychiatric services. Of note, the overall
       quality of the psychiatric services provided to the mentally ill offenders of IDOC is
       exceedingly poor and often times dangerous. IDOC leadership is well aware of the
       problems related to the insufficient amount of psychiatric services and has taken
       decisive action to address this issue, but this has not yet been effective. At the time
       of the submission of this report, however, the lack and quality of psychiatric



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       services negatively impacts all aspects of the Settlement and contributes to IDOC
       being non-compliant in the vast majority of areas of the Settlement.

Id. at 715. The District Court entered an injunction directing the IDOC to undertake specific steps

and hire a specific number of staff. On January 12, 2022, the Seventh Circuit reversed finding that

the IDOC responded reasonably, even though the IDOC did not comply with the terms of the

Settlement. Even though IDOC fell short of complying with the terms of the Settlement, IDOC

was not deliberately indifferent. Id. at 706.

       411.    Considering the breadth and depth of the jurisprudence on point and the facts

established at trial, it cannot be reasonably concluded that the Defendants were deliberately

indifferent to the Plaintiffs’ serious medical needs as of March of 2020.

       412.    As to Offender Posted Policy 34, in Peterson v. Michael, 42,315, p. 7 (La. App. 2

Cir. 6/20/07), 960 So. 2d 1260, 1264, the court held:

       Furthermore, like the trial court, we conclude that Peterson failed to establish any
       constitutional violation or illegality as to the posted policy. At the time of the
       hearing, Peterson was no longer on strip cell tier, and counsel for the defendants
       agreed that he could not be placed back on it without a new infraction. There was
       no basis for the granting of injunctive relief in Peterson’s favor and consequently
       we reverse and vacate the injunction.

       413.    In James v. LeBlanc, No. 09-1592, 2011 WL 6842516, at *8 (W.D. La. Nov. 16,

2011), report and recommendation adopted, 2011 WL 6842512 (W.D. La. Dec. 29, 2011), the

court held:

        Courts have rejected similar claims that confinement to a strip cell generated due
        process claims. See e.g., Duncan v. Levenhagen, 2000 WL 557009, *2 (7th
        Cir.2000) (placement in strip cell without food for 10 to 12 hours did not impose
        an atypical and significant hardship); Seltzer-Bey v. Delo, 66 F.3d 961 (8th
        Cir.1995) (strip cell for two days without clothing, bedding, or running water, with
        a concrete floor, a concrete slab for a bed, and cold air blowing; procedural due
        process claim dismissed); Bone v. Walker, 2010 WL 375320 (C.D.Ill.2010)
        (strip cell for eight days, without a mattress or clothing for 24 hours, was not
        atypical or a significant hardship); Demerson v. Woodford, 2009 WL 498199


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        (E.D.Cal.2009) (three days in strip cell did not give rise to due process
        claim); Dunkley v. Tate, 2007 WL 2900169 (W.D.Va.2007) (three days
        in strip cell without clothing or personal property, with only a smock and mattress,
        did not present due process claim); and Lloyd v. Briley, 2007 WL 917385
        (M.D.Ill.2007) (strip cell with no sheets, toilet paper, or personal property for 13
        days did not give rise to procedural due process claim). Plaintiff’s procedural due
        process claim should be dismissed.

       414.       In this case, the Plaintiffs offered no evidence that anyone was improperly

placed on Policy 34.

       415.       With regard to Alternate Meal Service (referred to colloquially as “food loaf”),

in Dufrene v. Tuner, No. 05-2066, 2006 WL 2620091, at *2 (W.D. La. Aug. 14, 2006), the

Magistrate Judge assigned to this case found as follows:

       Plaintiff complains that on July 31, 2005, he was deprived of his morning meal.
       Plaintiff also complains that for seven days he was forced to eat food loaf for every
       meal. After considering the duration and the totality of the specific circumstances
       that constituted the conditions of Plaintiff’s confinement, this Court finds that the
       facts alleged do not support a finding that Defendants’ conduct was sufficiently
       harmful enough to deprive him of life’s basic necessities. See Wilson, 501 U.S. at
       298, 111 S.Ct. at 2324. Thus, Plaintiff’s claim has failed to satisfy the first
       requirement of an Eighth Amendment claim.

      416.        As to custody status and classification, in LaVergne, 2020 WL 7090064, at *8,

the court held:

       In order for any due process concern to arise, a protected liberty interest be
       implicated. The custody status change imposed upon Plaintiff dues not implicate
       any constitutionally protected liberty interest. Plaintiff also has no constitutionally
       protected liberty interest in attending college, being allowed access to the hobby
       shop, attending rodeo, or in his job assignment. Plaintiff’s final allegation regarding
       his quarters change consists of a conclusory allegation that he was “moved to the
       most violent part of the prison.” Plaintiff has not alleged any facts in support of this
       contention, and thus, it should be dismissed.

(footnotes omitted).




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       417.    Incarcerated offenders do not retain any absolute rights of physical association. The

Fifth Circuit has held “that for convicted offenders ‘[v]isitation privileges are a matter subject to

the discretion of prison officials.’” Id. at *8; Thorne v. Jones, 765 F.2d 1270, 1273 (5th Cir. 1985).

       418.    Confinement to a cell for 23 hours per day does not rise to the level of a

constitutional violation. Milton, 2010 WL 5376117 at *1 (citing Argue v. Hofmeyer, 80 F. App’x

427, 429 (6th Cir. 2003) (holding that confinement for 23-hours per day, Monday through Friday,

is not unconstitutional because it does not impose an atypical and significant hardship) and Hill v.

Pugh, 75 F. App’x 715, 721 (10th Cir. 2003) (holding that confinement for 23-hours per day five

days a week and 24-hours per day on the remaining two days is not unconstitutional because it

shows neither an “unquestioned and serious deprivation of basic human needs” nor intolerable or

shocking conditions)).

       419.    Offenders have no absolute constitutional right to outdoor recreation, so long as

some form of exercise is permitted, or, the conditions of confinement, when viewed as a whole,

are not violative of the Eighth Amendment. See Callicutt v. Panola Cty. Jail, 200 F.3d 816, 816

(5th Cir. 1999) (unpublished) (citing Jones v. Diamond, 594 F.2d 997, 1012-13 (5th Cir.1979));

Scott v. Gusman, No. 10-2706, 2011 WL 666851, at *3 (E.D. La. Feb. 14, 2011) (even if an

offender is allowed outside for only 45 minutes twice per week, that “is not an atypical, significant

deprivation in a prison setting, and it does not rise to the level of a constitutional violation.”);

Argue, 80 F. App’x at 430; Hill, 75 F. App’x at 721; Figueroa v. Dinitto, 52 F. App’x 522, 523

(1st Cir. 2002) (unpublished); Smith v. Romer, No. 96-1211, 1997 WL 57093, at *2 (10th Cir. Feb.

11, 1997); Smith v. Beatty, No. 95-1493, 1996 WL 166270, at *1 (7th Cir. Apr. 5, 1996).

       420.    Even severe restrictions on or complete denials of outdoor recreation are not

prohibited by the Constitution. See, e.g., Chavis v. Fairman, No. 92-7490, 1994 WL 55719, at *5



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(N.D.Ill. Feb. 22, 1994), aff’d, 51 F.3d 275 (7th Cir. 1995) (“Generally, even dramatic restrictions

on outdoor exercise do not violate the Eighth Amendment (or due process, where pretrial detainees

are at issue) so long as offenders have ample opportunity to enjoy indoor activity.”); Rue v.

Gusman, No. 09-6480, 2010 WL 1930936, at *9 (E.D.La. May 11, 2010); Broussard v. Phelps,

No. 86-2126, 1987 WL 18153, at *1, 3 (E.D.La. Oct. 6, 1987) (no constitutional deprivation shown

where offender was allowed outdoor recreation only twice in a seventeen month period in light of

the fact that he was allowed to leave his cell for an hour each day and cell was large enough for

indoor exercise).

                       V. FINDINGS OF FACT RE: ADA/RA CLAIMS

       421.    Prior to March 2020, Deputy Warden Angie Huff was the ADA liaison at DWCC.

(Huff Tr. at 1935)

       422.    Heat precaution duty statuses for offenders on certain psychotropic medication are

ordered by medical or mental health staff. (Huff Tr. at 2024-2025)

       423.    Most ADA accommodations at DWCC are handled informally based on staff

observation or offender’s inquiry without the offender having to file a request for accommodation.

(Huff Tr. at 2108-2109)

       424.    Disciplinary action taken as a result of misconduct is not discrimination based upon

a mental health disability.

       425.    Discipline against offenders with mental illness is allowed in a prison setting.

       426.    Disciplinary segregation is necessary and appropriate for offenders with mental

illness if they pose a danger to prison officials and/or other offenders.




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       427.    Group therapy and/or group programs are not available to any offenders in

disciplinary segregation at DWCC, including offenders with or without a disability. (Huff Tr. at

2106-2107)

       428.    Offenders in disciplinary segregation, both with or without a disability, have access

to programs through written materials and individual counseling. (Huff Tr. at 2107)

       429.    Defendants identify offenders with mental illness through the screening and intake

process described above in detail.

       430.    Plaintiffs’ ADA claims are a re-packaging of their Eighth Amendment claims.

(Court’s denial of Defendants’ Motion for Summary Judgment, R. Doc. 516 at 16)

       431.    The Plaintiffs adduced no expert testimony on the ADA claims.

       432.    The Plaintiffs failed to demonstrate evidence of a qualifying disability for any class

member.

       433.    The Plaintiffs failed to demonstrate discrimination by reason of disability.

       434.    The Plaintiffs failed to demonstrate reasonable accommodations were being denied

to offenders who were assigned to restrictive housing as a result of violating institutional rules.

       435.    Dr. Haney believes restrictive housing “harms” offenders with or without mental

illness. (Haney Tr. at 2888, 2890-2891)

       436.    All offenders in disciplinary segregation are treated the same with regard to the

types of mental health treatment available to them. (Huff Tr. at 2106-2107)

       437.    Defendants’ mitigation measures and accommodations for offenders with a mental

health diagnosis include the following: screening and testing offenders for mental illness;

providing medication; providing counseling through the hiring and assigning of social workers to

the restrictive housing areas; refraining from disciplining offenders who violate institutional rules



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as a result of their mental health issues; declaring heat alerts; providing offenders heat duty

statuses; and promulgating policies prohibiting placing the actively psychotic in restrictive

housing.

       438.    Defendants do not discipline offenders who violate institutional rules during a

psychotic episode as demonstrated by the particular case of Frederick Gray. (Hayden Tr. at 3612-

3614; Ex. D-62)

       439.    Plaintiffs failed to provide any evidence that the Defendants’ definition of disability

is underinclusive by way of not taking into account functional impairment.

       440.    Plaintiffs failed to demonstrate that any class member lost his SMI designation as

a result of being in remission.

       441.    Defendants provide offenders a process for requesting reasonable accommodations

and educate the offenders on how to utilize that system. (Huff Tr. at 2098-2103; Ex. D-36)

       442.    Defendants provide inmate counsel substitutes to assist offenders in accessing both

the ARP and ADA reasonable accommodation procedures. (Huff Tr. at 2107)

                    VI. CONCLUSIONS OF LAW RE: ADA/RA CLAIMS

       443.    A plaintiff states a claim for relief under Title II of the ADA if he alleges: (1) that

he has a qualifying disability; (2) that he is being denied the benefits of services, programs, or

activities for which the public entity is responsible, or is otherwise discriminated against by the

public entity; and (3) that such discrimination is by reason of his disability. Hale v. King, 642 F.3d

492, 499 (5th Cir. 2011).

       444.    The purpose of the ADA as specifically stated by Congress is “to provide a clear

and comprehensive national mandate for the elimination of discrimination against individuals with

disabilities . . . .” 42 U.S.C. § 12101(b)(1).



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       445.    The ADA provides that “no qualified individual with a disability shall, by reason

of such disability, be excluded from participation in or be denied the benefits of the services,

programs, or activities of a public entity, or be subjected to discrimination by any such entity.” 42

U.S.C. § 12132.

       446.    The RA is interpreted the same as the ADA with certain exceptions not applicable

here. See Smith v. Harris Cty., Tex., 956 F.3d 311, 317 (5th Cir. 2020).

       447.    The ADA is not meant to be an “end run” around Eighth Amendment cases. Bryant

v. Madigan, 84 F.3d 246, 249 (7th Cir. 1996).

       448.    The ADA proscribes discrimination against disabled individuals. The Eastern

District of Louisiana in Williamson v. Larpenter, 2019 WL 3719761, at *14, held that the ADA is

a discrimination statute. “The fact that a person has a qualifying disability is not alone sufficient

to state a cognizable ADA claim. Instead, the person with a disability must also establish causation,

i.e., that he was discriminated against in the provision of benefits, services or programs by reason

of his disability.” Id.; see also Kokinda v. Pa. Dep’t of Corr., 779 F. App’x 944, 950 (3d Cir.

2019) (claim was dismissed because plaintiff failed to “assert that he was excluded from a program

or service on account of or because of his disability as required.”); Goodman v. Johnson, 524 F.

App’x 887, 890 (4th Cir. 2013) (unpublished) (ADA claim dismissed because plaintiff “failed to

allege facts indicating that, due to his disability, he has been deprived of benefits for which he was

otherwise qualified.”); Bryant, 84 F.3d at 249 (failure to attend to a disabled person’s needs is not

a violation of the ADA where no discrimination is alleged and the disabled person is not treated

worse because he is disabled); Maccharulo v. N.Y. St. Dep’t of Corr. Servs., No. 08-301, 2010 WL

2899751, at *3 (S.D.N.Y. July 21, 2010) (“Therefore, when there is no allegation of ‘disparate

treatment,’ . . . between disabled and non-disabled individuals, the plaintiff has not stated a claim



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under the ADA or the Rehabilitation Act.”); Lee v. St., Dep’t of Corr. Servs., No. 97-7112, 1999

WL 673339, at *14 (S.D.N.Y. Aug. 30, 1999) (plaintiff’s allegations suffered from a fundamental

defect in that they failed to state that the offender was excluded from any prison service or program

because of his disability)

       449.    Neither the ADA nor the RA applies to claims regarding the quality of mental

health services. See Smith v. Harris Cty., 956 F.3d at 318 n.1 (“the ADA does not typically provide

a remedy for negligent medical treatment.”); Atkins v. Cty. of Orange, 251 F. Supp. 2d 1225, 1232

(S.D.N.Y. 2003); Simmons v. Navajo Cty., Ariz., 609 F.3d 1011, 1022 (9th Cir. 2010) (“The ADA

prohibits discrimination because of disability, not inadequate treatment for disability.”); Bryant,

84 F.3d at 249 (the ADA is not “violated by a prison’s simply failing to attend to the medical needs

of its disabled prisoners” where no discrimination is alleged).

       450.    Similarly, a claim that challenges the adequacy or the substance of services that are

provided to a disabled individual is not a valid claim under either the ADA or the RA. Maccharulo,

2010 WL 2899751, at *3; Atkins, 251 F. Supp. 2d at 1232.

       451.    Disciplinary action taken as a result of misconduct is not discrimination based upon

a disability as to mental health. See O’Guinn v. Nev. Dep’t of Corr., 468 F. App’x 651, 654 (9th

Cir. 2012) (claim rejected because plaintiff failed to produce evidence showing that his

disciplinary action was on account of his disability rather than on account of his misconduct).

       452.    “[H]arsh conditions [of administrative segregation] may well be necessary and

appropriate in light of the danger that high-risk inmates pose both to prison officials and to other

prisoners.” Wilkinson v. Austin, 545 U.S. 209, 224 (2005).

       453.    If the entity does not provide the program, service, or activity as a general matter,

the entity has no duty under Title II to provide an accommodation for disabled persons. This



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makes sense because the goal of the ADA is to provide equal access to individuals with disabilities

to opportunities and benefits, not to provide privileges withheld from everyone else. Williamson,

2019 WL 3719761, at *15 (quoting Irby v. Sumnicht, 683 F. Supp. 2d 913, 917 (W.D. Wis. 2010)).

In Williamson v. Larpenter, the offender asserted that the “defendants discriminated against him

by denying him access to therapy, group programs and regular trips to a mental health facility.”

Id. at *14. The court addressed the ADA claims specifically by noting that the jail did not provide

any of the services to any of the inmates at the jail. Id. The court then noted that the plaintiff “was

not treated differently from other inmates.” Id. at *15.

       454.    The mere fact that conditions may be harsh is not an allegation of discrimination.

See Wilkinson, 545 U.S. at 224. “[R]outine discomfort is part of the penalty that convicted

prisoners pay for having committed crimes.” Williamson, 2019 WL 3719761, at *11.

       455.    Because Plaintiffs did not show that individuals requested accommodations which

were denied, the ADA/RA claim is merely as re-packaging or end run around the Eighth

Amendment claims and should be denied as such.

              VII. FINDINGS OF FACT RE: FIRST AMENDMENT CLAIMS

       456.    Plaintiffs allege that Defendants have interfered with counsel’s investigation of

conditions at DWCC by systematically interfering with mail sent by prisoners to their counsel in

violation of the First Amendment of the Constitution. Plaintiffs’ First Amendment claims suffer

from a fatal failure of proof.

       457.    Major Angela Mathews has been responsible for the DWCC mail room since

approximately 2013. (Ex. P-BBBB-3 at 8-9)

       458.    DWCC has policies for operation of its mail room. The mail room personnel are

trained and follow the policies. (Ex. P-BBBB-3 at 14, 55)



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       459.    An offender who sends legal mail from DWCC is required to write “legal mail” or

“privileged correspondence” on the envelope. (Ex. P-BBBB-3 at 45) Even if the mail is not noted

as legal mail or privileged correspondence, the mail room treats the mail as legal mail anyway if

it is identified as such. (Ex. P-BBBB-3 at 51)

       460.    Dep. Reg. No. C-02-009 provides that all outgoing privileged correspondence may

be posted sealed and will not be opened and inspected without express authorization from the

Warden or Deputy Warden as specified in the policy. (Ex. P-BBBB-4 at 8)

       461.    On the South Compound, a locked mail box is passed down the tier for each

offender to personally place mail into a locked mailbox. (Ex. P-BBBB-3 at 47-48; Ex. P-BBBB-

4 at 28) Mail room personnel are the only persons who have a key to the locked mailbox. (Ex. P-

BBBB-3 at 12, 56; Ex. P-BBBB-4 at 28)

       462.    An officer from the mail room goes to each cell block on the South Compound and

retrieves the mail box. The officer from the mail room unlocks the mail box, gets the mail, and

places the mail in a plastic bag. No staff from the tiers are supposed to handle the mail at all. (Ex.

P-BBBB-3 at 47-48)

       463.    Major Mathews has received legal mail from the South Compound with tape on it.

(Ex. P-BBBB-3 at 49-50, 76)

       464.    Colonel Nail has received mail from offenders in restrictive housing that was

“taped.” (Nail Tr. at 3155-3156)

       465.    Personnel in the mail room will tape mail that is not sealed to keep the contents

from falling out. (Ex. P-BBBB-3 at 50)

       466.    Mail room personnel take outgoing mail to the Homer Post Office to be handled by

the United States Post Office thereafter. (Ex. P-BBBB-3 at 87) DWCC mail room personnel



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obviously have no way of knowing what happens to mail after it is in the custody of the United

States Postal Service. (Ex. P-BBBB-3 at 90)

       467.      Some of the envelops complained of appear as if they were opened and taped shut

after DWCC mail room stamped the envelopes with the notation, “Not responsible for contents.”

(Ex. P-BBBB-3 at 96)

       468.      Major Mathews in charge of the mail room testified that the suggestion that

personnel in the mail room opened outgoing mail and then taped it shut before sending it was

“crazy.” (Ex. P-BBBB-3 at 86)

       469.      Chelsea Ormon, an administrative assistant with Disability Rights, estimated that

only 5-10% of the envelopes received from DWCC had tape applied to the envelope.

       470.      As to incoming mail, the DWCC mail room receives 300-500 pieces of mail a day.

(Ex. P-BBBB-3 at 33-34)

       471.      When the mail room receives incoming legal mail, the mail is logged into a

computer and then placed into the box for the night shift supervisor. (Ex. P-BBBB-3 at 37)

       472.      An officer with the rank of Captain or higher delivers legal mail directly to the

offender. (Ex. P-BBBB-3 at 59; Ex. P-BBBB-4 at 30) The delivering officer secures the signature

of the offender/recipient on a legal mail receipt. (Ex. P-BBBB-3 at 61; Ex. P-BBBB-4 at 30)

       473.      Mathews has received mail from the United States Post Office that was torn and

had been taped. (Ex. P-BBBB-3 at 91)

       474.      If legal mail is accidentally opened, the mail is not read. (Ex. P-BBBB-3 at 59)

       475.      Plaintiffs did not identify any employee or agent of DWCC as having tampered

with the mail.




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       476.    Plaintiffs claim that DWCC is responsible for damage to envelopes, ignoring the

fact that the United States Postal Service handled and delivered the mail. No evidence of the

multiple post offices that handle and transport the mail after it leaves DWCC was offered.

       477.    Plaintiffs further allege that Defendants have punished and retaliated against class

members in violation of their First Amendment. Again, Plaintiffs offered no credible evidence as

of any such actions to support the claim.

       478.    Plaintiffs offered a series of letters from Damonte Henry from which they argue

that Henry withdrew from the lawsuit as a plaintiff after being transferred to EHCC. This argument

fails for lack of proof because Henry himself states in a handwritten letter that:

       . . . I am writing to clarify and dissolve the implications about anything being offer
       to me as a deal from you or any other employee at David Wade Correctional Center.
       That was not the case. I don’t know if things has got misconstrued or what, but I
       just want to let you know that nothing has been offered to me. You told me give
       you good behavior and you would see about me making the board. Nothing more,
       no promises, guarantee’s.

(Ex. P-KK-125) Henry did not testify to say anything contrary. Consistent with the letter, Colonel

Nail testified that he spoke with Henry about his conduct and how to get off of extended lockdown,

not about the Advocacy Center (Nail Tr. at 1901) Colonel Nail specifically denied speaking with

Henry about the lawsuit and affirmatively stated that he did not make a deal with Henry. (Nail Tr.

at 3156-3157) That testimony stands unrefuted.

       479.    The remainder of the allegations of retaliation are so vague and baseless as to

almost not merit a specific response. For instance, Carlton Turner testified that he felt like he was

retaliated against when he received a write up for having his jumpsuit down. (Turner Tr. at 80-

81) Willie Dillon testified that he was retaliated against because his property was lost. (Dillon Tr.

at 274-275) Indeed, Plaintiffs’ own security expert, Pacholke, was unable to identify any rule

violations that were retaliatory. (Pacholke Tr. at 2814)


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           VIII. CONCLUSIONS OF LAW RE: FIRST AMENDMENT CLAIMS

        480.     “A prison official’s interference with a prisoner’s legal mail . . . may violate the

prisoner’s First Amendment right to free speech—i.e., the right to be free from unjustified

governmental interference with communication.” Brewer v. Wilkinson, 3 F.3d 816, 820, 825-26

(5th Cir. 1993); Damm v. Cooper, 288 F. App’x 130, 132 (5th Cir. 2008).

        481.     “[P]rison officials may open incoming legal mail to inspect it for contraband.”

Jones v. Mail Room Staff, 74 F. App’x 418, 419 (5th Cir. 2003) (citing Brewer, 3 F.3d at 820-21.

Similarly, “prisoners do not have a constitutional right to be present when privileged, legal mail is

opened and inspected.” Collins v. Foster, 603 F. App’x 273, 275 (5th Cir. 2015) (citing Brewer, 3

F.3d at 825).

        482.     Conclusory allegations of interference with legal mail are insufficient to support

such claims. Damm, 288 F. App’x at 132; Every v. Jindal, No. 9-671, 2011 WL 2182047, at *3

(W.D. La. May 13, 2011), report and recommendation adopted, 2011 WL 2182721 (W.D. La.

June 3, 2011).

        483.     Plaintiffs presented no evidence that anyone at DWCC was interfering and/or

tampering with their mail. To the contrary, Defendants offered undisputed testimony as to how

the mail service at DWCC operates. Defendants further presented evidence that offenders do have

tape, at least at times, a critical fact that supposedly supports their claims. Further, Plaintiffs cannot

overcome the fact that the mail is processed by the United States Postal Service and that only 5-

10% of the mail is questionable. This claim fails for a complete lack of proof.

        484.     The court in Young v. LeBlanc, No. 19-13516, 2020 WL 3421132, at *26 (E.D. La.

May 7, 2020), report and recommendation adopted, 2020 WL 3415800 (E.D. La. June 22, 2020)

stated that the law in the Fifth Circuit:



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       is well established that prison officials may not retaliate against an inmate who
       exercises his right of access to court. Officials likewise may not retaliate against an
       inmate for using the grievance system. A plaintiff must allege facts showing that
       the defendant possessed a retaliatory motive. The inmate must show more than his
       personal belief that he was the victim of retaliation. Mere conclusory allegations of
       retaliation are not enough.

 (emphasis in original)

       485.    Since Plaintiffs offered little more than their own personal beliefs of retaliation,

these claims fail as a matter of law.

                                        IX. CONCLUSION

       486.    The salient facts are that DWCC utilizes restrictive housing, a common correctional

practice employed in at least 98% of the prisons in the country, to control aberrant behavior. The

men assigned to restrictive housing are screened so that the offenders with the most serious mental

illness (LOC 1 and LOC 2) are not housed at DWCC. The offenders that are assigned to DWCC

are screened on intake and their mental health diagnoses are correct. While at DWCC, the offenders

regularly see the psychiatrist consistent with their LOC, and the psychiatrist prescribes appropriate

medications. Mental health staff are available and see the offenders regularly. Suicide watch is not

overused, and DWCC does not have a problem with too many suicide watches or too many

completed suicides. The offenders in restrictive housing regularly progress out of restrictive

housing, and there is no evidence that DWCC keeps offenders on restrictive housing for too long a

period of time. Further, the evidence shows that DPS&C and DWCC have adopted new policies

and have reduced their reliance on the use of restrictive housing. These salient facts are fully

supported by the record and are generally undisputed.

       487.    The salient, generally undisputed facts supported by the record, negate any

suggestion that the Defendants are deliberately indifferent to the Plaintiffs’ serious medical needs.




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Exactly as expressed by Secretary Le Blanc, while care can be and is being improved, care is beyond

the constitutional standard. (Le Blanc Tr. at 4439)

        488.    Plaintiffs’ claims regarding ADA/RA should be rejected for failure of proof. There

is no proof that DWCC discriminates against the disabled. Plaintiffs’ claims are essentially an

improper attempt to bootstrap what are essentially Eighth Amendment quality of mental health

claims under the ADA/RA. This claim fails as a matter of fact and law.

        489.    Plaintiffs’ claims regarding alleged First Amendment violations fail for lack of proof

        490.    Defendants are remarkable state actors who are performing the difficult and

thankless job of securing the most violent offenders in our society in order to maintain the safety of

the public, the institution, and the offenders themselves. The evidence shows that the Defendants

account for the offenders’ mental health and are not being deliberately indifferent. Because there

are no actions that fall below the constitutional standard of care, this suit for injunctive relief should

be dismissed eliminating the need for further proceedings.

                                                Respectfully Submitted:

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                                CERTIFICATE OF SERVICE

         I hereby certify that on the 14th day of March 2022, I electronically filed the foregoing
pleading with the Clerk of Court using the CM/ECF system which will send a notice of electronic
filing to all counsel of record.

                                     /s/ Randal J. Robert
                                         Randal J. Robert




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